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                  CONTAINS INFORMATION MARKED AS AEO/CONFIDENTIAL
                     UNDER THE DISCOVERY CONFIDENTIALITY ORDER


    March 12, 2024                                                                         Harry Sandick
                                                                                           Partner
                                                                                           (212) 336-2723
                                                                                           hsandick@pbwt.com



    By Email

    Hon. Freda L. Wolfson
    Lowenstein Sandler LLP
    One Lowenstein Drive
    Roseland, NJ 07068

                      Re:      JJHCS’s Motion to Compel Interrogatory Responses
                               Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,
                               Civil Action No. 22-2632 (JKS) (CLW)

    Dear Judge Wolfson:

             On behalf of JJHCS, we move to compel SaveOnSP to provide complete and accurate

    supplemental responses to JJHCS’s Interrogatories. As Your Honor knows, the Court required

    SaveOnSP to update its discovery responses “without limitation” to capture conduct through

    November 7, 2023. See D.E. 173 (emphasis by Judge Waldor). SaveOnSP has violated this Order,

    and the Federal Rules of Civil Procedure, in multiple respects.

             First, as to a subset of JJHCS’s Interrogatories—Interrogatory Nos. 4, 15–17, and 19–20

    (the “Manufacturer Evasion Interrogatories”)—SaveOnSP has failed to conduct a reasonable

    investigation to collect responsive information and to supplement its responses accordingly. These

    interrogatories are central to the case; they concern the deceptive tactics that SaveOnSP employs

    to evade detection of its scheme. Sworn deposition testimony and SaveOnSP’s own documents




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    indicate that SaveOnSP’s existing responses are inaccurate or incomplete, which strongly indicates

    that SaveOnSP did not conduct a diligent investigation before responding to them. Accordingly,

    we request an order compelling SaveOnSP to immediately (1) diligently investigate all information

    in its possession potentially responsive to the Manufacturer Evasion Interrogatories; and (2)

    correct and supplement its responses to those Interrogatories as necessary.

           Second, SaveOnSP has failed to verify all but two of its supplemental interrogatory

    responses, in violation of Federal Rule of Civil Procedure 33(b)(5), which requires that a corporate

    designee certify all responses under oath. As to the six interrogatory responses that SaveOnSP did

    supplement, it has verified only two of them, specifically its responses to Interrogatory Nos. 4 and

    16. As to the remaining fourteen interrogatories, SaveOnSP has not provided supplemental

    responses at all; instead its counsel contends that no supplement is necessary. This is not an

    academic violation of Rule 33—there are questions about the veracity and reliability of

    SaveOnSP’s responses. JJHCS is entitled to a sworn verification that all twenty responses are

    complete and accurate though the refresh period ordered by Judge Waldor. We therefore ask Your

    Honor to compel SaveOnSP to verify all of its responses.

                                               Background

           A.      JJHCS’s Interrogatories Seek Relevant Information About SaveOnSP’s
                   Efforts to Avoid Detection

           SaveOnSP operates a scheme to inflate and misappropriate copay assistance funding that

    drug manufacturers provide for patients to help them afford their medication. SaveOnSP does this

    by committing various deceptive acts, including outright misrepresentations, and by threatening

    patients with prohibitively high costs for their badly needed medication unless they acquiesce to

    enrollment in the SaveOnSP program. Compl. ¶¶ 11–16, 60–67, 73–88.

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           SaveOnSP knows that if manufacturers are able to identify and trace SaveOnSP’s unlawful

    activities, they will take steps to cut off SaveOnSP’s access to these funds, which are meant to

    benefit patients. Therefore, SaveOnSP’s business model depends on constantly hiding its tracks.

    For example,

                                                                                         See Ex. 1,

    SOSP_0307960; see also Ex. 2, SOSP_0423114 (

                                                                . Moreover,




       •                                ;

       •

       •


       •


    See Ex. 3, Zulqarnain Dep. Tr. at 118:16–119:15, 127:24–128:4, 138:15–139:9, and 128:17–

    129:20 (            ; id. at 169:20–170:21, 185:2–186:16                 ; id. at 114:18–116:12,

    148:15–149:23, and 169:20–172:11 (                    ; id. at 79:19–80:11, 107:5–25, 173:25–

    174:17 (                                .

           As just one example,




                                                                         Id. at 118:5–121:25.


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                                                                  See id. at 114:7–117:4 (testifying

    that



             All of these lies are part of SaveOnSP’s systematic strategy of deception targeted at

    manufacturers like JJHCS. Indeed, SaveOnSP has admitted that




                                                                                         See Ex. 4,

    Defendant’s Feb. 1, 2024 Supplemental Responses & Objections to Plaintiff’s Interrogatories at

    9–10, 12. SaveOnSP has further admitted that

                     ” Id. SaveOnSP even

                                      thereby                                                    Id.

    at 10.

             But SaveOnSP’s evasive tactics go beyond even this. As another example,




                                                See Ex. 5, SOSP_0943232; Ex. 6, SOSP_0694247.

    And,



                                    See Ex. 7, SOSP_0857490 (

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               ; Ex. 8, SOSP_1031686 (“

                                                   ).

           JJHCS’s Manufacturer Evasion Interrogatories aim to probe these and other highly relevant

    tactics that SaveOnSP uses to operate its scheme while avoiding detection:

       •   Interrogatory No. 4 asks SaveOnSP about “the process by which SaveOnSP determines the
           size of the ‘inflated co-pay’ or increase to Plan Members’ Copayment or Co-insurance,
           including any and all criteria used to inform how that Co-payment or Co-insurance is
           determined.” See Ex. 9, Plaintiff’s First Set of Interrogatories at 6.

       •   Interrogatory No. 15 asks SaveOnSP to “[d]escribe whether and under what circumstances
           [SaveOnSP has] advised any Payors [such as health plans] to eliminate or alter [insurance]
           coverage for certain pharmaceuticals and to arrange for Plan Members to obtain those
           pharmaceuticals from any source other than Accredo, including (without limitation)
           independent nonprofit organizations, such as the Johnson & Johnson Patient Assistance
           Foundation, Inc.” See Ex. 10, Plaintiff’s Second Set of Interrogatories at 6.

       •   Interrogatory No. 16 asks SaveOnSP about measures it has taken “to prevent any
           Pharmaceutical Manufacturer or manufacturers from being able to identify patients that are
           enrolled in the SaveOnSP Program, or to make it more difficult for them to do so.” See
           Ex. 11, Plaintiff’s Third Set of Interrogatories at 5.

       •   Interrogatory No. 17 asks SaveOnSP about its efforts to “to prevent any Pharmaceutical
           Manufacturer or manufacturers from being able to identify [its] employees or
           representatives as being affiliated with SaveOnSP, or to make it more difficult for them to
           do so.” Id.

       •   Interrogatory No. 19 asks SaveOnSP about “circumstances under which [it has] lied to,
           misled, or deceived Pharmaceutical Manufacturers, including

                                                                                                   Id.

       •   Interrogatory No. 20 asks SaveOnSP to “[d]escribe, in as much detail as possible, each
           instance where and all circumstances under which [it has] instructed its representatives or
           employees to lie to, mislead, or deceive Pharmaceutical Manufacturers including with
           regard to their affiliation with SaveOnSP.” Id.

    SaveOnSP previously provided answers to each of these interrogatories covering the original time

    period (i.e., before Judge Waldor’s “update” order).

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            B.     SaveOnSP Refuses to Provide Complete and Accurate Supplemental
                   Responses as Ordered

            On November 7, 2023, the Court directed the parties to update all of their discovery

    responses “without limitation” through that date. See D. E. 173 (emphasis by Judge Waldor). At

    the December 21, 2023 conference, Your Honor ordered the parties to refresh their interrogatory

    responses by January 31, 2024. JJHCS did so. SaveOnSP did not.

            On February 1 and February 23, 2024, SaveOnSP served supplemental responses to a total

    of six out of twenty interrogatories. As detailed in the pages that follow, four of these responses

    (to Interrogatory Nos. 4, 16, 17, and 19) are inaccurate and/or incomplete. SaveOnSP did not

    update the other fourteen interrogatories—including two of the Manufacturer Evasion

    Interrogatories, Nos. 15 and 20. And SaveOnSP still has not provided verifications for its

    supplemental responses to Interrogatory Nos. 2, 10, 17, and 19, served on February 1, 2024.

                                                 Argument

       I.        SaveOnSP Must Conduct a Reasonable Investigation into the Numerous
                 Inaccuracies in Its Interrogatory Responses and Supplement as Needed

            It is well settled in this district that a party responding to interrogatories must diligently

    investigate the subject matter, to ensure that its responses reflect all relevant information available

    to it, including information from its employees and their documents. See, e.g., Younes v. 7-Eleven,

    Inc., 312 F.R.D. 692, 705–07 (D.N.J. 2015) (“A party answering interrogatories is under a duty to

    produce all information available to the party” and a party “is charged with knowledge of what its

    agents know and what is in the documents available to it.”); Joaquin v. Lonstein L. Offs., P.C.,

    2019 WL 399136, at *3 (D.N.J. Jan. 31, 2019) (“[I]nterrogatories must be answered directly and

    without evasion based on information the party possesses after due inquiry.”).


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           Based on the information JJHCS has identified to SaveOnSP, including numerous

    inaccuracies, contradictions, and gaps in SaveOnSP’s responses, it is now clear that SaveOnSP

    either did not perform the diligent inquiry that the law requires—or, worse, performed the inquiry

    but then omitted what it had learned from its interrogatory responses. See Ex. 12, Feb. 9, 2024

    Ltr. from C. Zielinski to E. Snow. SaveOnSP did update a handful of responses

                                                    but that is not nearly enough: SaveOnSP must

    actually investigate whether additional relevant information has been omitted from its responses,

    and supplement its responses as needed.

           A. Interrogatory No. 4

           JJHCS’s Interrogatory No. 4 inquired into the “process by which SaveOnSP determines

    the size of the ‘inflated co-pay,’ or increase to Plan Members’ Co-payment or Co-insurance,

    including any and all criteria used to inform how that Co-payment or Co-insurance is determined”

    (emphasis supplied). In its December 23, 2022 response to Interrogatory No. 4, SaveOnSP




                                                  See Ex. 13, Defendant’s Dec. 23, 2022 Responses

    and Objections to JJHCS’s First Set of Interrogatories at 8–9.

           SaveOnSP’s response omits material, highly damning facts. On February 9, 2024, JJHCS

    informed SaveOnSP that it had identified evidence



                                                                                     See Ex. 12, Feb.


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    9, 2024 Ltr. from C. Zielinski to E. Snow at 2.



                                                     See Ex. 14, SOSP_0521309




                                                       See Ex. 15, Defendant’s Feb. 23, 2024 Responses

    and Objections to Plaintiff’s Interrogatories.

           The documentary evidence JJHCS has identified has much broader implications than

    SaveOnSP acknowledges:

                                                                                    See, e.g., Ex. 14,

    SOSP_0521309; Ex. 6, SOSP_0694247



           To that same end,                                                                that were

    wrongly omitted from SaveOnSP’s interrogatory response, e.g.,



                                                          Ex. 5, SOSP_0943232. Yet even after JJHCS

    made SaveOnSP aware of this evidence, SaveOnSP refused to update its response to address these

    points. See Ex. 16, Feb. 23, 2024 Ltr. from E. Snow to C. Zielinski at 1.

           SaveOnSP cannot simply rely on JJHCS’s investigation and supplement its responses in a

    piecemeal fashion to address only contradictory evidence that JJHCS has uncovered. Rather,

    SaveOnSP itself must conduct a reasonable investigation based on the information in its possession

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    and provide a comprehensive description of all methods that it has used to calculate the copay and

    all criteria that have informed this methodology. In particular, SaveOnSP must investigate and

    disclose                                                                                     .

           B. Interrogatory No. 15

           JJHCS’s Interrogatory No. 15 asked SaveOnSP to disclose all circumstances when it

    advised payors to eliminate or alter coverage for certain drugs and to arrange for Plan Members to

    obtain those drugs from other sources.1 SaveOnSP refused to answer this Interrogatory until Judge

    Waldor compelled it to do so. See Dkt. 102. SaveOnSP’s response stated that



                                                                          See Ex. 17, Defendant’s May

    5, 2023 Supplemental Responses & Objections to Plaintiff’s Interrogatories at 7.

           Contrary to SaveOnSP’s representation that it “




                                                              Ex. 8, SOSP_1031686; see also Ex. 18,

    MIGH000014

                                     ). These documents again show that SaveOnSP failed to conduct

    a reasonable investigation into its own practices that bear upon this Interrogatory.



    1
      Such sources include free medications made available through patient assistance programs or
    independent nonprofit foundations only to assist uninsured or underinsured patients with a
    demonstrated financial need.
                                                                                               In
    other words, SaveOnSP misappropriates free prescription drugs and then charges the patient’s
    health insurer a portion of the avoided cost.
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         JJHCS identified the above documents to SaveOnSP, but SaveOnSP refused to provide any

  explanation as to why such documents do not contradict its response. Instead, SaveOnSP merely

  asserted that it “has investigated” the issues implicated in Interrogatory No. 15 and concluded that

  no supplement was necessary. See Ex. 16, Feb. 23, 2024 Ltr. from E. Snow to C. Zielinski at 1.

  In light of the documentary evidence demonstrating that

  SaveOnSP must conduct a thorough investigation and supplement its response accordingly to

  account for all responsive information.

         C. Interrogatory No. 16

         Interrogatory No. 16 requests information about “all measures” that SaveOnSP has

  “utilized to prevent any Pharmaceutical Manufacturer or manufacturers from being able to identify

  patients that are enrolled in the SaveOnSP Program, or to make it more difficult for them to do

  so.” SaveOnSP asserted in response to this Interrogatory that



                                                             See Ex. 15, Defendant’s Feb. 23, 2024

  Supplemental Responses & Objections to Plaintiff’s Interrogatories at 8 (emphasis supplied).

  SaveOnSP also stated in response that



                                      See id. at 8–9 (emphasis supplied).2 SaveOnSP’s response is




  2
    SaveOnSP previously agreed that its responses to Interrogatories Nos. 16–20 would
                                                         ” See Ex. 19, Oct. 19, 2023 Email from E.
  Snow to S. Arrow. As such, SaveOnSP’s responses to each of these interrogatories must account
  for all evasive tactics it deployed against any manufacturer, with specificity.

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  deficient in at least two respects—both of which confirm that SaveOnSP has failed to conduct the

  reasonable investigation necessary to provide an accurate response.

         First, SaveOnSP continues to assert that

                                                                                       See id. at 8.

                                                                           As mentioned earlier,

  SaveOnSP’s documents show that



                                     See Ex. 5, SOSP_0943232; see also Ex. 20, SOSP_0272882

  (explaining

                                                      . Despite this, SaveOnSP has simply asserted

  that it “disagree[s]” that the evidence JJHCS cites undermines its sworn statements. See Ex. 16,

  Feb. 23, 2024 Ltr. from E. Snow to C. Zielinski at 2. But SaveOnSP provided no explanation for

  this naked assertion. Nor did it provide any details about the purported investigation that it

  conducted to support this claim. SaveOnSP must conduct a comprehensive investigation to

  provide a complete response.

         Second, in its February 23, 2024 supplemental response, SaveOnSP stated that



                                                                                      See Ex. 15,

  Defendant’s Feb. 23, 2024 Supplemental Responses & Objections to Plaintiff’s Interrogatories at

  8–9.




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              The incompleteness of this response suggests that SaveOnSP has failed to conduct a

  thorough investigation into the full range of practices responsive to Interrogatory No. 16.

  SaveOnSP must do so now and provide a complete response with all responsive factual detail.

         D.       Interrogatory Nos. 17 and 19

         Interrogatory No. 17 requests information concerning the methods that SaveOnSP has

  “utilized to prevent any . . . manufacturers from being able to identify” SaveOnSP representatives.

  Interrogatory No. 19 requests information concerning the circumstances in which SaveOnSP

  representatives and employees have “lied to, misled, or deceived” manufacturers.



                                     SaveOnSP’s responses to Interrogatory Nos. 17 and 19 remain

  inaccurate and incomplete—again establishing that its investigation has been inadequate.

         Following Ms. Zulqarnain’s deposition, SaveOnSP repeatedly agreed to “investigat[e] the



                                                       and to supplement its interrogatory responses

  accordingly. See Ex. 21, Jan. 17, 2024 Email from M. Nussbaum to G. LoBiondo. But SaveOnSP

  either did not investigate these issues as it committed to do, or did not update its responses to

  account for what it had learned.

         SaveOnSP’s supplemental responses to Interrogatories Nos. 17 and 19




                                                                              See Ex. 4, Defendant’s


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  Feb. 1, 2024 Supplemental Responses & Objections to Plaintiff’s Interrogatories at 9, 11 (emphasis

  supplied). SaveOnSP’s responses then continue:



                                                          Id. (emphasis supplied). Not only are these

  statements inherently inconsistent with one another, but                         has also confirmed

  that the former statement is incorrect. Ms. Zulqarnain testified that



  See, e.g., Ex. 3, Zulqarnain Dep. Tr. at 118:16–119:15

             ); id. at 127:24–128:4        ; id. at 138:15–139:9 (

             ; id. at 148:17–149:7 (                                          . Yet SaveOnSP refuses

  to update its responses to fully investigate all responsive facts and address these inaccuracies. See

  Ex. 16, Feb. 23, 2024 Ltr. from E. Snow to C. Zielinski at 2.

          SaveOnSP’s documents also confirm that its responses to Interrogatory Nos. 17 and 19

  require further investigation and supplementation. Although SaveOnSP disclosed that



                                                                     , its responses indicate that

                                                                                            See Ex. 4,

  Defendant’s Feb. 1, 2024 Supplemental Responses & Objections to Plaintiff’s Interrogatories at

  10, 12. But SaveOnSP’s document production confirms that this statement is inaccurate at least

  as to

                                                  See Ex. 22, SOSP_0786252

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                                                shedding light on the accuracy (or lack thereof) of

  its responses as to                                               . SaveOnSP must conduct a

  reasonable investigation to ensure that it has captured all relevant conduct responsive to these

  Interrogatories. See Younes, 312 F.R.D. at 705–07.

         SaveOnSP’s responses to Interrogatory Nos. 17 and 19 are also materially incomplete for

  several reasons. SaveOnSP’s responses indicate that,



                                                                                           See Ex.

  4, Feb. 1, 2024 Supplemental Responses & Objections to Plaintiff’s Interrogatories at 9, 12.

  Despite SaveOnSP’s agreement to “investigat[e]                                . . .

                                                                                                 ”

  SaveOnSP has failed to provide a comprehensive response as to the range of

                                      For example, SaveOnSP fails to disclose




                                             See Ex. 23, Jan. 9, 2024 Email from M. Nussbaum to

  G. LoBiondo. Discovery also reveals that SaveOnSP has been underinclusive in

                                                                      For example, SaveOnSP’s

  production indicates that

                                              See Ex. 24, SOSP_0942343.

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         The evidence that JJHCS has uncovered may only be the tip of the iceberg with respect to

  the information that SaveOnSP has failed to disclose in response to JJHCS’s Interrogatory Nos.

  17 and 19. Although JJHCS has raised this evidence to SaveOnSP and requested that it renew its

  investigation and supplement its answers—and despite SaveOnSP’s own agreement to do so—

  SaveOnSP still has not provided comprehensive responses. It must do so now.

         E. Interrogatory No. 20

         Interrogatory No. 20 asks SaveOnSP to describe “each instance where and all

  circumstances under which [it has] instructed its representatives or employees to lie to, mislead,

  or deceive Pharmaceutical Manufacturers including with regard to their affiliation with

  SaveOnSP.” SaveOnSP refused to supplement its response, despite its agreement to do so and the

  Court’s orders compelling an update. See Ex. 21, Jan. 17, 2024 Email from M. Nussbaum to G.

  LoBiondo (agreeing to “investigat[e] the

                                                                  and to supplement its responses

  accordingly). Instead, SaveOnSP stood by its original response, which stated that



                                                See Ex. 16, Feb. 23, 2024 Ltr. from E. Snow to C.

  Zielinski at 2 (refusing to supplement response to Interrogatory No. 20); Ex. 25, Defendant’s Nov.

  3, 2023 Supplemental Responses & Objections to Plaintiff’s Interrogatories at 8.




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                 See Ex. 3, Zulqarnain Dep. Tr. at 32:23–33:10

                                id. at 72:7–73:25

                                                                     id. at 121:23–25 (

                                                                                                 );

  id. at 153:3–23 (

                                                     ). SaveOnSP’s documents confirm that



                                              See Ex. 26, SOSP_1114963. SaveOnSP’s responses

  do not account for this evidence or otherwise address

                       , despite SaveOnSP’s commitment to investigating this issue.

         Nor does SaveOnSP’s Response to Interrogatory No. 20 address with specificity any of



                              See, e.g., Ex. 1, SOSP_0307960



                      ”); Ex. 2, SOSP_0423114 (“



                                                                             ). It defies credulity

  that                                                                           . As it agreed to

  do, SaveOnSP must fully investigate the

                 and provide a comprehensive response to Interrogatory No. 20.




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     II.      SaveOnSP’s Failure to Verify its Interrogatory Responses Violates the Federal
              Rules of Civil Procedure

           Federal Rule of Civil Procedure 33(b)(5) requires any interrogatory response to be signed

  by “[t]he person who makes the answers[.]” Despite assurances that it would do so, SaveOnSP

  has failed to comply with this requirement nearly without exception: SaveOnSP has only verified

  two of its responses to JJHCS’s twenty Interrogatories, i.e., its responses to Interrogatory Nos. 4

  and 16. See Ex. 27, Feb. 1, 2024 Email from M. Nussbaum (stating verification to be provided by

  Feb. 2, 2024); Ex. 12, Feb. 9, 2024 Ltr. from C. Zielinski to E. Snow (requesting prompt

  verification); Ex. 28, Feb. 20, 2024 Email from C. Zielinski to M. Nussbaum (same).

           Specifically, SaveOnSP has provided no verification for its supplemental Responses to

  Interrogatory Nos. 2, 10, 17, and 19. See Ex. 4, Defendant’s Feb. 1, 2024 Supplemental Response

  & Objections to Plaintiff’s Interrogatories. For the remainder of JJHCS’s interrogatories for which

  SaveOnSP provided no supplement, SaveOnSP also failed to certify that its existing responses

  remain accurate and reflect all responsive information available through November 7, 2023.

  Instead, SaveOnSP submitted a letter from counsel that its “substantive responses [to those sixteen

  interrogatories] have not changed.” See Ex. 29, Feb. 1, 2024 Ltr. from E. Snow to G. LoBiondo.

  SaveOnSP’s attempt to substitute its own attorney’s representations for a corporate designee’s

  signed certification does not suffice under Rule 33(b)(5).

           SaveOnSP has offered no explanation for this violation, nor is there any excuse for it. Not

  only is such a verification required under the Federal Rules, it is also particularly essential here,

  given the multiple inaccuracies JJHCS has identified in SaveOnSP’s responses, as detailed in

  Section I above. JJHCS must be able to rely on the veracity of SaveOnSP’s responses and explore



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  any inconsistencies with a corporate designee. Accordingly, SaveOnSP must properly certify all

  existing and forthcoming responses.

                                           *      *       *

         After identifying the many deficiencies in SaveOnSP’s interrogatory responses, JJHCS

  repeatedly requested that SaveOnSP conduct a renewed investigation into the veracity of those

  responses, consistent with applicable law, the Court’s Order, and SaveOnSP’s own agreement to

  do so. See, e.g., Younes, 312 F.R.D. at 705–07; Joaquin, 2019 WL 399136, at *3. SaveOnSP

  refused to update its existing responses to the Manufacturer Evasion Interrogatories to reflect all

  relevant information available to it.    Four of SaveOnSP’s supplemental responses to these

  Interrogatories are incomplete and inaccurate (Interrogatory Nos. 4, 16, 17, and 19); another two

  should have been supplemented but were not (Interrogatory Nos. 15 and 20). Finally, as to

  eighteen of its interrogatory responses—whether supplemented or not—SaveOnSP has violated

  Federal Rule of Civil Procedure 33(b)(5) by failing to provide a sworn verification.

         For the foregoing reasons, we request that Your Honor compel SaveOnSP to conduct a

  reasonable investigation into all relevant information responsive to JJHCS’s Manufacturer Evasion

  Interrogatories, provide complete and accurate supplemental responses to those Interrogatories as

  needed, and verify all responses. We appreciate Your Honor’s consideration of this matter.


                                                           Respectfully submitted,


                                                           /s/ Harry Sandick
                                                           Harry Sandick

  cc:    Counsel for SaveOnSP



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                                EXHIBIT 1

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  Attorneys for Defendant Save On SP, LLC


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON
   HEALTH CARE SYSTEMS INC.,
                                             Civ. A. No. 22-2632 (JMV) (CLW)
                        Plaintiff,
                                             DEFENDANT’S SUPPLEMENTAL
                 v.                          RESPONSES AND OBJECTIONS TO
                                             PLAINTIFF’S INTERROGATORIES
   SAVE ON SP, LLC,

                        Defendant.



  To:    Jeffrey J. Greenbaum, Esq.
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         Newark, New Jersey 07102
         973-643-7000
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         & TYLER LLP
         1133 Avenue of the Americas
         New York, New York

         Attorneys for Plaintiff Johnson & Johnson
         Health Care Systems Inc.

         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1, De-

  fendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, hereby supple-

  ments its Responses and Objections to Plaintiff Johnson & Johnson Health Care Systems Inc.’s

  (“JJHCS”) Interrogatory Nos. 2, 10, 17, and 19, contained in SaveOnSP’s previously-served Re-

  sponses and Objections. These responses should be deemed to supplement and amend SaveOnSP’s

  disclosures under Rule 26(a) of the Federal Rules of Civil Procedure. If SaveOnSP learns that in

  some material respect its responses are incomplete or incorrect, SaveOnSP will supplement or

  correct them if the additional or corrective information has not otherwise been made known to

  JJHCS during the discovery process or in writing. Fed. R. Civ. P. 26(e)(1)(A). SaveOnSP’s re-

  sponses to these Interrogatories are based on information available to it at the time it made them.

  SaveOnSP reserves the right to modify or supplement its responses.

                                    GENERAL OBJECTIONS

         1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

  OnSP objects to each Interrogatory to the extent that it seeks a disclosure of information which is

  subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

  or any other applicable privileges, immunities, or doctrines.

         2.      JJHCS does not limit any of its Interrogatories to information withing SaveOnSP’s

  possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks


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  disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

  OnSP can locate after a reasonable inquiry.

                                 OBJECTIONS TO DEFINITIONS

             3.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

  countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

  prets the term “SaveOnSP” to mean SaveOnSP, LLC, and any and all predecessors and successors

  in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

  atives, directors, officers, employees, committees, and all persons or entities acting or purporting

  to act on behalf or under the control of SaveOnSP, LLC.

             4.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

  plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

  inition.

             5.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

  objects to the definition of “SaveOnSP.”

             6.   SaveOnSP objects to the term “or other substance” in the definition of “Pharma-

  ceutical Manufacturer” as vague and ambiguous. SaveOnSP will interpret the term “Pharmaceuti-

  cal Manufacturer” to mean any entity that develops, produces, manufactures, creates, licenses, or

  distributes any pharmaceutical, drug, or medicine used in the treatment, cure, prevention or diag-

  nosis of any illness, disease, disorder, or other condition.

                                OBJECTIONS TO INSTRUCTIONS

             1.   SaveOnSP objects to Instruction No. 23 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.



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         2.      SaveOnSP objects to Instruction No. 24 in Plaintiff’s First Set of Interrogatories to

  the extent it purports to require SaveOnSP to answer Plaintiff’s Interrogatories based on

  knowledge obtained from all available sources. SaveOnSP will answer Plaintiff’s Interrogatories

  based on information in its possession, custody, and control available to it following a reasonable

  inquiry.

         3.      SaveOnSP objects to Instruction No. 25 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         4.      SaveOnSP uses the term “Janssen Drugs” as defined in SaveOnSP’s First Request

  for Production of Documents to JJHCS.

         5.      SaveOnSP objects to Instruction No. 24 in Plaintiff’s Second Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         6.      SaveOnSP objects to Instruction No. 25 in Plaintiff’s Second Set of Interrogatories

  to the extent it purports to require Save-OnSP to answer Plaintiff’s Interrogatories based on

  knowledge obtained from all available sources. SaveOnSP will answer Plaintiff’s Interrogatories

  based on information in its possession, custody, and control available to it following a reasonable

  inquiry.

         7.      SaveOnSP objects to Instruction No. 26 in Plaintiff’s Second Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.




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         8.      SaveOnSP objects to Instruction No. 16 in Plaintiff’s Third Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         9.      SaveOnSP objects to Instruction No. 17 in Plaintiff’s Third Set of Interrogatories

  to the extent it purports to require SaveOnSP to answer Plaintiff’s Interrogatories based on

  knowledge obtained from all available sources. SaveOnSP will answer Plaintiff’s Interrogatories

  based on information in its possession, custody, and control available to it following a reasonable

  inquiry.

         10.     SaveOnSP objects to Instruction No. 18 in Plaintiff’s Third Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         11.     SaveOnSP objects to Instruction No. 19 in Plaintiff’s Third Set of Interrogatories

  because it attempts to require SaveOnSP to provide information that is irrelevant to the claims and

  defenses in this action. SaveOnSP will provide information on its interactions with JJHCS and on

  its general business practices applicable to multiple Pharmaceutical Manufacturers that include

  such practices applicable to JJHCS.




         Dated: February 1, 2024                       By: /s/ E. Evans Wohlforth, Jr.
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                                                           Andrew R. Dunlap

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         SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES



  INTERROGATORY NO. 2:

         Describe, in as much detail as possible, Your involvement in the creation and use of the
  presentation found at https://vimeo.com/513414094 (hereinafter, SaveOnSP IPBC Video) as
  discussed in the Complaint (see, e.g., Compl. ¶¶ 9–11, 53–56).

  RESPONSE:




         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




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  INTERROGATORY NO. 10:

         For each Plan Member who declined to participate in the SaveOnSP Program in connection
  with their purchase of Janssen medication, identify how much each one paid for each prescription
  of Janssen medication that he or she filled after he or she declined to participate in the SaveOnSP
  Program.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 17:

         Describe, in as much detail as possible, all measures that You have utilized to prevent any
  Pharmaceutical Manufacturer or manufacturers from being able to identify Your employees or
  representatives as being affiliated with SaveOnSP, or to make it more difficult for them to do so.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 19:

           Describe, in as much detail as possible, all instances where and all circumstances under
  which You have lied to, misled, or deceived Pharmaceutical Manufacturers, including all instances
  in which Your representatives or employees have misrepresented their identities or concealed their
  affiliation with SaveOnSP when communicating with Pharmaceutical Manufacturers.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.
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                                EXHIBIT 5

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                                EXHIBIT 6

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                                EXHIBIT 7

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                                EXHIBIT 8

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  Attorneys for Plaintiff
  Johnson & Johnson Health Care Systems Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  JOHNSON & JOHNSON                              :
  HEALTH CARE SYSTEMS INC.,                          Civil Action No. 22-2632 (JMV) (CLW)
                                                 :
                               Plaintiff,
                vs.                              :   PLAINTIFF’S FIRST
                                                     SET OF INTERROGATORIES
  SAVE ON SP, LLC,                               :

                               Defendant.        :



                 PLAINTIFF’S FIRST SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rule of Civil Procedure, Plaintiff Johnson &

  Johnson Health Care Systems Inc. (“JJHCS”) directs the following Interrogatories to Defendant

  Save On SP, LLC (“SaveOnSP”) and requests that within 30 days after service of these

  Interrogatories (or such earlier time as the parties may agree or the Court may order) that

  SaveOnSP provide a response to each Interrogatory in writing and under oath.

                          DEFINITIONS AND INSTRUCTIONS
         1.     “Action” means the above-captioned matter, Johnson & Johnson Health Care

  Systems Inc. v. Save On SP, LLC, No. 22-CV-2632, currently pending in the United States

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  District Court for the District of New Jersey.

          2.      “CarePath” means the Janssen patient assistance program providing support

  services for patients using medications researched, developed, and marketed by the

  pharmaceutical companies of Johnson & Johnson, including Janssen Biotech Inc., Janssen

  Pharmaceuticals, Inc, Janssen Products, LP, and Actelion Pharmaceuticals U.S., Inc.

  (collectively, “Janssen”).

          3.     “Co-insurance” means a fixed percentage of the cost for a given drug for which a

  Plan Member is responsible when filling a prescription.

          4.     “Communication” means any written, oral, or electronic exchange or transmission

  of information by any means, including face-to-face conversation, in-person meeting, mail,

  telephone, electronic mail, facsimile, text message, instant message, social media, and the

  Internet.

          5.     “Complaint” means JJHCS’s May 4, 2022 complaint [ECF No. 1] or any

  subsequently amended Complaint in this Action.

          6.     “Co-payment” means a fixed dollar amount for which a Plan Member is

  responsible when filling a prescription.

          7.     “Document” is used in the broadest sense consistent with Rule 34(a) of the

  Federal Rules of Civil Procedure. The term includes, without limitation, any written, recorded,

  transcribed, taped, photographic or graphic matter, any electronically, magnetically or digitally

  stored information, including, without limitation, Communications, call notes, voice mail, video

  or audio recordings, electronic mail, software, source code, object code or hard or floppy disc

  files, any other tangible things, and all drafts or copies of any of the foregoing that are different

  in any way from the original.


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         8.      “Entity” means any legal entity including, without limitation, a limited liability

  company, corporation, trust, general partnership, limited partnership, sole proprietorship,

  professional corporation, limited liability partnership, professional association, joint venture,

  non-profit organization, memberships, trust, living trust, or testamentary trust.

         9.       “Express Scripts” means pharmacy benefits manager Express Scripts, Inc., and

  any and all predecessors and successors in interest, agents, representatives, directors, officers,

  employees, committees, and all persons or entities acting or purporting to act on behalf or under

  the control of Express Scripts, Inc.

         10.     “JJHCS” means Johnson & Johnson Health Care Systems Inc. and affiliates

  Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen

  Pharmaceuticals, Inc, Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen

  BioPharma LLC, Janssen Research & Development LLC, and Johnson & Johnson.

         11.      “Payor” means any Entity that reimburses in whole or in part for the

  administration or sale of a pharmaceutical or biologic product, including government agencies,

  private insurers, self-funded health plans, and health and welfare funds.

         12.      “Person” means (a) natural persons; (b) legal entities, including but not limited to

  corporations, partnerships, firms, associations, professional corporations and proprietorships; and

  (c) government bodies or agencies.

         13.     “Plan Member” shall mean any beneficiary of, or person enrolled in, a health

  insurance plan, pharmaceutical benefits plan, or prescription coverage provided by a Payor.

         14.     “Relating to,” “relate to,” “relates to,” “related to,” “relating to,” “referring to,”

  and “concerning” mean relating to, referring to, describing, referencing, reflecting, concerning,

  considering, evidencing, constituting, discussing, supporting, identifying, pertaining to,


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  containing, embodying, analyzing, evaluating, studying, recording, showing, memorializing,

  reporting on, commenting on, mentioning, reviewing in conjunction with, setting forth,

  contradicting, refuting, supporting, recommending, or in any way logically or factually

  connected with the matter discussed, in whole or in part.

         15.     “SaveOnSP” means Save On SP, LLC, and any and all predecessors and

  successors in interest, parents, subsidiaries, affiliates, divisions or departments, agents,

  representatives, directors, officers, employees, committees, attorneys, accountants, and all

  persons or entities acting or purporting to act on behalf or under the control of SaveOnSP.

         16.     “SaveOnSP Program” means the conduct as described in the Complaint at ¶¶ 9–

  17 and ¶¶ 50-88.

         17.     “You” and “Your” mean SaveOnSP as defined in paragraph 15 above.

         18.     “And” and “or” are to be construed conjunctively or disjunctively as necessary to

  make the request inclusive rather than exclusive; use of a singular noun is to be construed to

  include the plural noun and use of a plural noun is to be construed to include the singular noun;

  the use of a verb in any tense is to be construed as the use of that verb in all other tenses

  whenever necessary to bring within the scope of the requested information that which might

  otherwise be construed to be outside its scope.

         19.     These definitions and instructions, and the interrogatories set forth below, apply

  equally to all forms of electronic Communications and information, including e-mails, and to all

  other tangible things.

         20.     To the extent a term is not defined herein, apply the definition for such term used

  in the Complaint.




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         21.     These interrogatories shall be deemed to include any and all relevant information

  within Your possession, custody or control, including, without limitation, information located in

  the files of any and all past and present directors, officers, agents, representatives, employees,

  attorneys, and accountants of or retained by You.

         22.     If You have a good-faith objection to any interrogatory or any part thereof, the

  specific nature of the objection and whether it applies to the entire interrogatory or to a part of

  the interrogatory shall be stated. If there is an objection to any part of an interrogatory, then the

  part objected to should be identified and a response to the remaining unobjectionable part should

  be provided.

         23.     If You have a good-faith objection to any interrogatory or any part thereof based

  upon the attorney-client privilege, work product doctrine, or any other privilege or immunity,

  You shall provide an explanation of the basis therefore, including the specific nature of the

  privilege or immunity claimed and the detailed grounds for claiming such privilege or immunity.

         24.     Each interrogatory shall be answered on the basis of Your entire knowledge, from

  all sources, after an appropriate and good-faith inquiry has been made.

         25.     If documents are being produced in lieu of answers pursuant to Rule 33(d) of the

  Federal Rules of Civil Procedure, identify, by document production number of similar means, the

  specific documents where in the answer is located and, unless apparent on the face of the

  document, state where within the document the answer can be found.

         26.     Unless the interrogatory requires otherwise, the time period for the interrogatories

  is January 1, 2017 through the present (the “Time Period”).

         27.     The interrogatories should be deemed continuing, and the responses to them must

  be supplemented pursuant to Rule 26(e) of the Federal Rules of Civil Procedure.


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                                      INTERROGATORIES
           Interrogatory No. 1. Set forth the identities and role of the “[e]xperts in the healthcare

  and pharmaceutical industries [who] founded SaveOnSP,” as referenced on Your website.1

           Interrogatory No. 2. Describe, in as much detail as possible, Your involvement in the

  creation and use of the presentation found at https://vimeo.com/513414094 (hereinafter,

  SaveOnSP IPBC Video) as discussed in the Complaint (see, e.g., Compl. ¶¶ 9–11, 53–56).

           Interrogatory No. 3. Describe how each Janssen medication included in the SaveOnSP

  Program was chosen for inclusion, including any and all criteria used to inform that decision.

           Interrogatory No. 4. Describe, in as much detail as possible, the process by which

  SaveOnSP determines the size of the “inflated co-pay,”2 or increase to Plan Members’ Co-

  payment or Co-insurance, including any and all criteria used to inform how that Co-payment or

  Co-insurance is determined.

           Interrogatory No. 5. For each Janssen medication for which SaveOnSP has advised a

  Payor regarding the determination of the Co-payment or Co-insurance for that medication,

  identify the applicable Co-payment or Co-insurance for the medication both before and after

  SaveOnSP advised the Payor.

           Interrogatory No. 6. Set forth a calculation by year of any and all “savings”3 SaveOnSP

  has generated by advising Payors to increase the Co-payment or Co-insurance for Janssen




  1
      About SaveOnSP, SAVEONSP, https://saveonsp.com/about/ (last visited Nov. 23, 2022).
  2
      See SaveOnSP IPBC Video at 19:07.
  3
    See SaveOnSP IPBC Video at 49:26 (explaining that “in order for us to leverage the savings,
  the member has to actively enroll in copay assistance. That’s where the savings comes from.”)


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  medications, including breakdowns showing the entities that received the savings and the

  amounts received by SaveOnSP for generating those savings.

           Interrogatory No. 7. Identify the name and address of each Payor SaveOnSP has

  advised regarding the Co-payment or Co-insurance of any Janssen medication, including the

  earliest date on which that advice was provided.

           Interrogatory No. 8. Describe, in as much detail as possible, the processes and methods

  by which the SaveOnSP Program employs a “[p]oint of sale claim rejection” to “facilitate warm

  transfer of member to SaveOnSP.”4

           Interrogatory No. 9. Describe, in as much detail as possible, the processes and methods

  by which the SaveOnSP Program employs a “tertiary biller” to pay a Plan Member’s $5 or $10

  out-of-pocket responsibility, which is “really SaveOn behind the scenes.”5

           Interrogatory No. 10. For each Plan Member who declined to participate in the

  SaveOnSP Program in connection with their purchase of Janssen medication, identify how much

  each one paid for each prescription of Janssen medication that he or she filled after he or she

  declined to participate in the SaveOnSP Program.

           Interrogatory No. 11. In cases where (i) a Plan Member uses the entire annual allotment

  of CarePath funds for a given Janssen medication after enrolling in the SaveOnSP Program and

  (ii) the Plan Member subsequently switches to insurance coverage under a new Payor that does

  not participate in the SaveOnSP Program before the year ends, describe to what extent SaveOnSP




  4
   See Human Resources Committee Meeting, VILLAGE OF LINDENHURST ILLINOIS, at 69 (Mar.
  11, 2021), https://www.lindenhurstil.org/egov/documents/1615238827_33717.pdf.
  5
      See SaveOnSP IPBC Video at 20:53.


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  ensures that the Plan Member continues to pay $0 for their Janssen medication through the end

  of the year.

          Interrogatory No. 12. Describe, in as much detail as possible, how SaveOnSP

  “monitor[s] participants’ accounts,” as referenced on page 7 of the Memorandum of Law in

  Support of Defendant’s Motion to Dismiss filed in this Action at ECF. No. 31-1, including the

  categories of information SaveOnSP monitors.

  Dated: November 23, 2022


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                                            By:      s/ Jeffrey J. Greenbaum
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                                            Johnson & Johnson Health Care Systems Inc.




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                      Exhibit 10
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  Attorneys for Plaintiff
  Johnson & Johnson Health Care Systems Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  JOHNSON & JOHNSON                              :
  HEALTH CARE SYSTEMS INC.,                          Civil Action No. 22-2632 (JMV) (CLW)
                                                 :
                               Plaintiff,
                vs.                              :   PLAINTIFF’S SECOND
                                                     SET OF INTERROGATORIES
  SAVE ON SP, LLC,                               :

                               Defendant.        :



               PLAINTIFF’S SECOND SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rule of Civil Procedure, Plaintiff Johnson &

  Johnson Health Care Systems Inc. (“JJHCS”) directs the following Interrogatories to Defendant

  Save On SP, LLC (“SaveOnSP”) and requests that within 30 days after service of these

  Interrogatories (or such earlier time as the parties may agree or the Court may order) that

  SaveOnSP provide a response to each Interrogatory in writing and under oath.

                          DEFINITIONS AND INSTRUCTIONS
         1.     “Accredo” means specialty pharmacy Accredo Health Group, Inc., and any and all

  predecessors and successors in interest, divisions or departments, agents, representatives,

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  directors, officers, employees, committees, and all persons or entities acting or purporting to act

  on behalf or under the control of Accredo Health Group, Inc.

          2.     “Action” means the above-captioned matter, Johnson & Johnson Health Care

  Systems Inc. v. Save On SP, LLC, No. 22-CV-2632, currently pending in the United States

  District Court for the District of New Jersey.

          3.      “CarePath” means the Janssen patient assistance program providing support

  services for patients using medications researched, developed, and marketed by the

  pharmaceutical companies of Johnson & Johnson, including Janssen Biotech Inc., Janssen

  Pharmaceuticals, Inc, Janssen Products, LP, and Actelion Pharmaceuticals U.S., Inc.

  (collectively, “Janssen”).

          4.     “Co-insurance” means a fixed percentage of the cost for a given drug for which a

  Plan Member is responsible when filling a prescription.

          5.     “Communication” means any written, oral, or electronic exchange or transmission

  of information by any means, including face-to-face conversation, in-person meeting, mail,

  telephone, electronic mail, facsimile, text message, instant message, social media, and the

  Internet.

          6.     “Complaint” means JJHCS’s May 4, 2022 complaint [ECF No. 1] or any

  subsequently amended Complaint in this Action.

          7.     “Co-payment” means a fixed dollar amount for which a Plan Member is

  responsible when filling a prescription.

          8.     “Document” is used in the broadest sense consistent with Rule 34(a) of the

  Federal Rules of Civil Procedure. The term includes, without limitation, any written, recorded,

  transcribed, taped, photographic or graphic matter, any electronically, magnetically or digitally


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  stored information, including, without limitation, Communications, call notes, voice mail, video

  or audio recordings, electronic mail, software, source code, object code or hard or floppy disc

  files, any other tangible things, and all drafts or copies of any of the foregoing that are different

  in any way from the original.

         9.      “Entity” means any legal entity including, without limitation, a limited liability

  company, corporation, trust, general partnership, limited partnership, sole proprietorship,

  professional corporation, limited liability partnership, professional association, joint venture,

  non-profit organization, memberships, trust, living trust, or testamentary trust.

         10.      “Express Scripts” means pharmacy benefits manager Express Scripts, Inc., and

  any and all predecessors and successors in interest, agents, representatives, directors, officers,

  employees, committees, and all persons or entities acting or purporting to act on behalf or under

  the control of Express Scripts, Inc.

         11.     “JJHCS” means Johnson & Johnson Health Care Systems Inc. and affiliates

  Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, Janssen

  Pharmaceuticals, Inc, Janssen Products, LP, Actelion Pharmaceuticals U.S., Inc., Janssen

  BioPharma LLC, Janssen Research & Development LLC, and Johnson & Johnson.

         12.      “Payor” means any Entity that reimburses in whole or in part for the

  administration or sale of a pharmaceutical or biologic product, including government agencies,

  private insurers, self-funded health plans, and health and welfare funds.

         13.      “Person” means (a) natural persons; (b) legal entities, including but not limited to

  corporations, partnerships, firms, associations, professional corporations and proprietorships; and

  (c) government bodies or agencies.

         14.     “Plan Member” shall mean any beneficiary of, or person enrolled in, a health


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  insurance plan, pharmaceutical benefits plan, or prescription coverage provided by a Payor.

         15.     “Relating to,” “relate to,” “relates to,” “related to,” “relating to,” “referring to,”

  and “concerning” mean relating to, referring to, describing, referencing, reflecting, concerning,

  considering, evidencing, constituting, discussing, supporting, identifying, pertaining to,

  containing, embodying, analyzing, evaluating, studying, recording, showing, memorializing,

  reporting on, commenting on, mentioning, reviewing in conjunction with, setting forth,

  contradicting, refuting, supporting, recommending, or in any way logically or factually

  connected with the matter discussed, in whole or in part.

         16.     “SaveOnSP” means Save On SP, LLC, and any and all predecessors and

  successors in interest, parents, subsidiaries, affiliates, divisions or departments, agents,

  representatives, directors, officers, employees, committees, attorneys, accountants, and all

  persons or entities acting or purporting to act on behalf or under the control of SaveOnSP.

         17.     “SaveOnSP Program” means the conduct as described in the Complaint at ¶¶ 9–

  17 and ¶¶ 50-88.

         18.     “You” and “Your” mean SaveOnSP as defined in paragraph 15 above.

         19.     “And” and “or” are to be construed conjunctively or disjunctively as necessary to

  make the request inclusive rather than exclusive; use of a singular noun is to be construed to

  include the plural noun and use of a plural noun is to be construed to include the singular noun;

  the use of a verb in any tense is to be construed as the use of that verb in all other tenses

  whenever necessary to bring within the scope of the requested information that which might

  otherwise be construed to be outside its scope.




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         20.     These definitions and instructions, and the interrogatories set forth below, apply

  equally to all forms of electronic Communications and information, including e-mails, and to all

  other tangible things.

         21.     To the extent a term is not defined herein, apply the definition for such term used

  in the Complaint.

         22.     These interrogatories shall be deemed to include any and all relevant information

  within Your possession, custody or control, including, without limitation, information located in

  the files of any and all past and present directors, officers, agents, representatives, employees,

  attorneys, and accountants of or retained by You.

         23.     If You have a good-faith objection to any interrogatory or any part thereof, the

  specific nature of the objection and whether it applies to the entire interrogatory or to a part of

  the interrogatory shall be stated. If there is an objection to any part of an interrogatory, then the

  part objected to should be identified and a response to the remaining unobjectionable part should

  be provided.

         24.     If You have a good-faith objection to any interrogatory or any part thereof based

  upon the attorney-client privilege, work product doctrine, or any other privilege or immunity,

  You shall provide an explanation of the basis therefore, including the specific nature of the

  privilege or immunity claimed and the detailed grounds for claiming such privilege or immunity.

         25.     Each interrogatory shall be answered on the basis of Your entire knowledge, from

  all sources, after an appropriate and good-faith inquiry has been made.

         26.     If documents are being produced in lieu of answers pursuant to Rule 33(d) of the

  Federal Rules of Civil Procedure, identify, by document production number of similar means, the




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  specific documents where in the answer is located and, unless apparent on the face of the

  document, state where within the document the answer can be found.

         27.     Unless the interrogatory requires otherwise, the time period for the interrogatories

  is January 1, 2017 through the present (the “Time Period”).

         28.     The interrogatories should be deemed continuing, and the responses to them must

  be supplemented pursuant to Rule 26(e) of the Federal Rules of Civil Procedure.

                                     INTERROGATORIES
         Interrogatory No. 13. Describe what advice or other information SaveOnSP has

  provided to Payors regarding whether Payors can continue to include Janssen Drugs in the

  SaveOnSP Program after any changes to the CarePath terms and conditions, including with

  regard to the December 2021 changes to the CarePath terms and conditions.1

         Interrogatory No. 14. Identify any Entity or individual who has entered into any

  agreement, or otherwise has any obligation, to advance legal fees incurred by SaveOnSP in this

  action or to indemnify SaveOnSP in this action for its legal fees, for any damages, or otherwise.

         Interrogatory No. 15. Describe whether and under what circumstances You have

  advised any Payors to eliminate or alter coverage for certain pharmaceuticals and to arrange for

  Plan Members to obtain those pharmaceuticals from any source other than Accredo, including

  (without limitation) independent nonprofit organizations, such as the Johnson & Johnson Patient

  Assistance Foundation, Inc.



  Dated: February 7, 2023


  1
   See Compl. ¶¶ 102-04 (describing December 2021 change to CarePath terms and conditions for
  Stelara and Tremfya).


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  Johnson & Johnson Health Care Systems Inc.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  JOHNSON & JOHNSON                              :
  HEALTH CARE SYSTEMS INC.,                          Civil Action No. 22-2632 (JMV) (CLW)
                                                 :
                               Plaintiff,
                vs.                              :   PLAINTIFF’S THIRD
                                                     SET OF INTERROGATORIES
  SAVE ON SP, LLC,                               :

                               Defendant.        :



                PLAINTIFF’S THIRD SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rule of Civil Procedure, Plaintiff Johnson &

  Johnson Health Care Systems Inc. (“JJHCS”) directs the following Interrogatories to Defendant

  Save On SP, LLC (“SaveOnSP”) and requests that within 30 days after service of these

  Interrogatories (or such earlier time as the parties may agree or the Court may order) that

  SaveOnSP provide a response to each Interrogatory in writing and under oath.
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                           DEFINITIONS AND INSTRUCTIONS
         1.      “Action” means the above-captioned matter, Johnson & Johnson Health Care

  Systems Inc. v. Save On SP, LLC, No. 22-CV-2632, currently pending in the United States District

  Court for the District of New Jersey.

         2.      “Communication” means any written, oral, or electronic exchange or transmission

  of information by any means, including face-to-face conversation, in-person meeting, mail,

  telephone, electronic mail, facsimile, text message, instant message, social media, and the Internet.

         3.      “Complaint” means JJHCS’s May 4, 2022 complaint [ECF No. 1] or any

  subsequently amended Complaint in this Action.

         4.      “Document” is used in the broadest sense consistent with Rule 34(a) of the Federal

  Rules of Civil Procedure. The term includes, without limitation, any written, recorded, transcribed,

  taped, photographic or graphic matter, any electronically, magnetically or digitally stored

  information, including, without limitation, Communications, call notes, voice mail, video or audio

  recordings, electronic mail, software, source code, object code or hard or floppy disc files, any

  other tangible things, and all drafts or copies of any of the foregoing that are different in any way

  from the original.

         5.      “Pharmaceutical Manufacturer” means any entity that develops, produces,

  manufactures, creates, licenses or distributes any pharmaceutical, drug, medicine or other

  substance used in the treatment, cure, prevention or diagnosis of any illness, disease, disorder or

  other condition, and includes any such entity’s predecessors and successors in interest, parents,

  subsidiaries, affiliates, divisions or departments, agents, representatives, directors, officers,

  employees, committees, attorneys, or accountants.

         6.      “SaveOnSP” means Save On SP, LLC, and any and all predecessors and successors

  in interest, parents, subsidiaries, affiliates, divisions or departments, agents, representatives,

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  directors, officers, employees, committees, attorneys, accountants, and all persons or entities

  acting or purporting to act on behalf or under the control of SaveOnSP.

         7.       “SaveOnSP Program” means the conduct as described in the Complaint at ¶¶ 9–17

  and ¶¶ 50–88.

         8.       Utilized means put to use, used, practiced, applied, brought to bear, exercised and

  deployed; and includes attempts to utilize regardless of whether such attempts were successful.

         9.       “You” and “Your” mean SaveOnSP as defined in paragraph 7 above.

         10.      “And” and “or” are to be construed conjunctively or disjunctively as necessary to

  make the request inclusive rather than exclusive; use of a singular noun is to be construed to

  include the plural noun and use of a plural noun is to be construed to include the singular noun;

  the use of a verb in any tense is to be construed as the use of that verb in all other tenses whenever

  necessary to bring within the scope of the requested information that which might otherwise be

  construed to be outside its scope.

         11.      The term “including” means including, but not limited to.

         12.      These definitions and instructions, and the interrogatories set forth below, apply

  equally to all forms of electronic Communications and information, including e-mails, and to all

  other tangible things.

         13.      To the extent a term is not defined herein, apply the definition for such term used

  in the Complaint.

         14.      These interrogatories shall be deemed to include any and all relevant information

  within Your possession, custody or control, including, without limitation, information located in

  the files of any and all past and present directors, officers, agents, representatives, employees,

  attorneys, and accountants of or retained by You.



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         15.     If You have a good-faith objection to any interrogatory or any part thereof, the

  specific nature of the objection and whether it applies to the entire interrogatory or to a part of the

  interrogatory shall be stated. If there is an objection to any part of an interrogatory, then the part

  objected to should be identified and a response to the remaining unobjectionable part should be

  provided.

         16.     If You have a good-faith objection to any interrogatory or any part thereof based

  upon the attorney-client privilege, work product doctrine, or any other privilege or immunity, You

  shall provide an explanation of the basis therefore, including the specific nature of the privilege or

  immunity claimed and the detailed grounds for claiming such privilege or immunity.

         17.     Each interrogatory shall be answered on the basis of Your entire knowledge, from

  all sources, after an appropriate and good-faith inquiry has been made.

         18.     If documents are being produced in lieu of answers pursuant to Rule 33(d) of the

  Federal Rules of Civil Procedure, identify, by document production number of similar means, the

  specific documents where in the answer is located and, unless apparent on the face of the

  document, state where within the document the answer can be found.

         19.     When answering these interrogatories, do not limit your response to facts involving

  JJHCS. Include all responsive facts relevant to any Pharmaceutical Manufacturer as well as those

  that are applicable to all manufacturers or groups of manufacturers.

         20.     Unless the interrogatory requires otherwise, the time period for the interrogatories

  is April 1, 2016 through the present (the “Time Period”).

         21.     The interrogatories should be deemed continuing, and the responses to them must

  be supplemented pursuant to Rule 26(e) of the Federal Rules of Civil Procedure.




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                                     INTERROGATORIES
         Interrogatory No. 16. Describe, in as much detail as possible, all measures that You have

  utilized to prevent any Pharmaceutical Manufacturer or manufacturers from being able to identify

  patients that are enrolled in the SaveOnSP Program, or to make it more difficult for them to do so.

         Interrogatory No. 17. Describe, in as much detail as possible, all measures that You have

  utilized to prevent any Pharmaceutical Manufacturer or manufacturers from being able to identify

  Your employees or representatives as being affiliated with SaveOnSP, or to make it more difficult

  for them to do so.

         Interrogatory No. 18. Describe, in as much detail as possible, all measures that You have

  utilized to prevent Your current or former employees from communicating with JJHCS or others

  with regard to SaveOnSP’s conduct at issue in this lawsuit, or to make it more difficult for them

  to do so.

         Interrogatory No. 19. Describe, in as much detail as possible, all instances where and all

  circumstances under which You have lied to, misled, or deceived Pharmaceutical Manufacturers,

  including all instances in which Your representatives or employees have misrepresented their

  identities or concealed their affiliation with SaveOnSP when communicating with Pharmaceutical

  Manufacturers.

         Interrogatory No. 20. Describe, in as much detail as possible, each instance where and

  all circumstances under which You have instructed Your representatives or employees to lie to,

  mislead, or deceive Pharmaceutical Manufacturers including with regard to their affiliation with

  SaveOnSP.




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  Dated: August 18, 2023


                                     SILLS CUMMIS & GROSS P.C.
                                     One Riverfront Plaza
                                     Newark, New Jersey 07102
                                     (973) 643-7000

                                     By:       /s/ Jeffrey J. Greenbaum
                                               JEFFREY J. GREENBAUM
                                               KATHERINE M. LIEB


                                     PATTERSON BELKNAP WEBB & TYLER LLP
                                     Adeel A. Mangi
                                     Harry Sandick (admitted pro hac vice)
                                     George LoBiondo
                                     1133 Avenue of the Americas
                                     New York, New York 10036
                                     (212) 336-2000

                                     Attorneys for Plaintiff
                                     Johnson & Johnson Health Care Systems Inc.




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  February 9, 2024                                                                       Caroline Zielinski
                                                                                         (212) 336-2206


  By Email

  Elizabeth Snow, Esq.
  Selendy Gay PLLC
  1290 Avenue of the Americas
  New York, NY 10104

                    Re:      SaveOnSP’s Supplemental Interrogatory Responses
                             Johnson & Johnson Health Care Systems, Inc. v. Save On SP, LLC
                             Case No. 2:22-cv-02632 (JKS) (CLW)
  Dear Elizabeth:

                We write to address a number of deficiencies with respect to SaveOnSP’s
  supplemental responses to JJHCS’s interrogatories.

      I.       Global Issues

                 As you are aware, the Court ordered that SaveOnSP “update [it]s discovery
  responses . . . without limitation,” through November 7, 2023. See Dkt. No. 173 (emphasis
  supplied). Consistent with Judge Wolfson’s Order at the December 21, 2023 conference,
  SaveOnSP confirmed that it would refresh its interrogatory responses through November 7, 2023
  by January 31, 2024. See Jan. 22, 2024 Ltr. from J. Long to E. Snow at 1. On February 1, 2024,
  SaveOnSP served its purported update which contained supplemental responses for only four of
  JJHCS’s twenty interrogatories (Interrogatory Nos. 2, 10, 17, and 19)—a far cry from the Court’s
  requirement that SaveOnSP supplement its discovery responses “without limitation.”

                  As to the remaining sixteen interrogatories, SaveOnSP did not provide updated
  responses. Instead, counsel for SaveOnSP submitted a letter indicating that “SaveOn’s substantive
  responses [to those interrogatories] have not changed.” See Feb. 1, 2024 Ltr. from E. Snow to G.
  LoBiondo at 1. This is unacceptable. Federal Rule of Civil Procedure 33(b)(5) requires that any
  interrogatory response must be signed by “[t]he person who makes the answers[.]” Id. Counsel
  for SaveOnSP cannot substitute its own attorney representations for a corporate designee’s signed
  certification. SaveOnSP’s failure to update sixteen of its interrogatory responses, as required by
  the Court and Rule 26(e), is especially concerning given that discovery has revealed that several
  of SaveOnSP’s existing responses are inaccurate or incomplete, as detailed more fully below.




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                 Accordingly, please immediately conduct a reasonable investigation to ensure that
  no additional supplementation is required as to the sixteen unchanged responses. In the event
  SaveOnSP concludes, following this reasonable investigation, that none of the remaining
  interrogatory responses require revision, please provide a certified response to that effect—as
  JJHCS did in its own January 31, 2024 supplemental responses. Of course, in the event SaveOnSP
  concludes additional supplementation is required, we expect that you will do so promptly, and in
  any event, no later than February 22, 2024.

                  In addition, in violation of Federal Rule of Civil Procedure 33(b)(5), SaveOnSP
  also has yet to verify its supplemental responses, despite its statement that it would provide such
  a verification by February 2, 2024. See Feb. 1, 2024 Email from M. Nussbaum. Please rectify
  this issue no later than February 16, 2024.

                 Below, we detail additional specific concerns that we have identified.

     II.     Interrogatory No. 4

                 SaveOnSP failed to supplement its response to JJHCS’s Interrogatory No. 4, which
  inquired as to the “process by which SaveOnSP determines the size of the ‘inflated co-pay,’ or
  increase to Plan Members’ Co-payment or Co-insurance, including any and all criteria used to
  inform how that Co-payment or Co-insurance is determined.” In response, SaveOnSP described
  that it:



                                                                    See Defendant’s Dec. 23, 2022
  Responses & Objections to Plaintiff’s First Set of Interrogatories at 8-9.

                 SaveOnSP’s document production calls into question the accuracy of this response.
  Specifically, SaveOnSP appears to employ additional processes to determine the copayment and
  coinsurance amounts at issue. For example,

                                                                 s. See SOSP_0521309.

                                                                                                a
                                             See SOSP_0943232. Please confirm that by February
  22, 2024, SaveOnSP will supplement its response to account for these methods or otherwise
  explain why you believe they are not responsive. Please also conduct a reasonable investigation
  to ensure that SaveOnSP did not employ any other processes to determine patients’ copayment
  amounts and update your response to Interrogatory No. 4 by February 22, 2024 accordingly.




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     III.    Interrogatory No. 15

                 SaveOnSP also did not update its response to Interrogatory No. 15, which inquired
  into the circumstances under which SaveOnSP advised payors to eliminate or alter coverage for
  certain drugs and to arrange for Plan Members to obtain those from other sources, including
  independent nonprofit organizations. After first refusing to answer this Interrogatory altogether,
  SaveOnSP stated in a supplemental response dated May 5, 2023 that



                  As you know, Interrogatory No. 15 was the subject of extensive discovery
  correspondence. Specifically, in response to our questions, SaveOnSP repeatedly reaffirmed the
  accuracy of its supplemental May 5 response to Interrogatory No. 15. See, e.g., June 13, 2023 Ltr.
  from A. Dunlap to H. Sandick at 3 (“We confirm our May 5 response is accurate.”); July 7, 2023
  Ltr. from G. LoBiondo to M. Nelson at 1; July 24, 2023 Ltr. from M. Nelson to G. LoBiondo.

                  Notwithstanding SaveOnSP’s sworn statements and its counsel’s representations
  regarding this issue, JJHCS has identified documents in SaveOnSP’s production that suggest that
                                                                                       See, e.g.,
  SOSP_1031686 (
                                  In addition, SaveOnSP appears to

                                                           See MIGH000014 at 5
                                                                                     ; Defendant’s
  May 5, 2023 Responses & Objections to Plaintiff’s Second Set of Interrogatories at 7 (stating that
                                                        . In light of these documents, please
  immediately conduct a renewed investigation to determine whether SaveOnSP’s prior sworn
  representations                        remain accurate and confirm that you have done so by
  February 16, 2024. In the event supplementation is required, please update your response to
  Interrogatory No. 15 by February 22, 2024.

     IV.     Interrogatory No. 16

                 SaveOnSP also failed to supplement its response to Interrogatory No. 16, which
  requests information about “all measures” SaveonSP has “utilized to prevent any Pharmaceutical
  Manufacturer or manufacturers from being able to identify patients that are enrolled in the
  SaveOnSP Program, or to make it more difficult for them to do so.”
                 We have identified two issues with SaveOnSP’s response as it currently stands. See
  Defendant’s Nov. 6, 2023 Supplemental Responses & Objections to Plaintiff’s Third Set of
  Interrogatories at 6-7. First, in its response, SaveOnSP stated that

                                                             Id. at 6 (emphasis supplied).
  SaveOnSP’s document production suggests that this statement is inaccurate. See, e.g.,
  SOSP_0694247 (describing t


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                                  ); SOSP_272882 (explaining that

             ).
                  Second, despite its agreement to do so, SaveOnSP has failed to update its response
  to Interrogatory No. 16 to include
                    See Oct. 19, 2023 Email from E. Snow to S. Arrow (“SaveOnSP will provide its
  supplemental responses,
  Although SaveOnSP agreed in mid-October to supplement its responses to JJHCS’s Third Set of
  Interrogatories, inclusive of Interrogatory No. 16, SaveOnSP has failed to provide these updates
  —and in fact, made no substantive updates whatsoever to Interrogatory No. 16 following its
  agreement to do so. Id. Accordingly, SaveOnSP must investigate and identify “all measures”
  utilized to prevent manufacturers from identifying SaveOnSP-affiliated patients and specify which
  measures were used against which manufacturers and when.
                 Please confirm that by February 22, 2024, SaveOnSP will correct its response to
  Interrogatory No. 16 and supplement it to include all relevant information.
     V.           Interrogatory Nos. 17 and 19 – Inconsistencies

                 Interrogatory No. 17 requests information concerning the methods that SaveOnSP
  has “utilized to prevent any . . . manufacturers from being able to identify” SaveOnSP
  representatives. Interrogatory No. 19 requests information concerning the circumstances in which
  SaveOnSP representatives and employees have “lied to, misled, or deceived” manufacturers.

                     In response to Interrogatory Nos. 17 and 19, SaveOnSP’s supplemental responses
  both state:

                                                           Defendant’s Feb. 1, 2024 Supplemental
  Responses & Objections to Plaintiff’s Interrogatories at 9, 11. SaveOnSP’s responses to both
  Interrogatories then continues:

                                                     Id. These statements cannot both be true. Either

             or

                     SaveOnSP’s response to Interrogatory Nos. 17 and 19 reveals an additional
  inconsistency.

                                           . See e.g., Zulqarnain Deposition Tr. (“Tr.”) 118:16–119:15
  (                        ); 127:24–128:4 (       138:15–139:9 (                       ); 148:17–129:7
  (                       . Although SaveOnSP disclosed in its supplemental responses to Interrogatory
  Nos. 17 and 19 that
                                                       it did not similarly disclose such practice in




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  connection with
            SaveOnSP must update its response accordingly.

                 By February 22, 2024, please correct SaveOnSP’s responses to Interrogatory Nos.
  17 and 19 to address this inconsistency and provide an accurate response.

     VI.     Interrogatory Nos. 17, 19, and 20 – Failure to Supplement

                 SaveOnSP also failed to supplement its responses to Interrogatory Nos. 17, 19, and
  20 despite counsel’s repeated assurances that it would do so
                                                                   See, e.g., Jan. 9, 2024 Email from
  M. Nussbaum to G. LoBiondo; Jan. 17 Email from M. Nussbaum to G. LoBiondo. Specifically,
  counsel repeatedly represented that SaveOnSP would supplement its responses to these
  Interrogatories to reflect the results of its investigation into

                                                    ” Jan. 17, 2024 Email from M. Nussbaum to G.
  LoBiondo. SaveOnSP agreed to provide this supplementation as to each of Interrogatory Nos. 17,
  19, and 20. See id. Yet, SaveOnSP failed to provide any updated response to Interrogatory No.
  20 and its supplemental responses to Interrogatory Nos. 17 and 19
                                  despite your repeated commitment to providing this information.
  Please confirm that by February 22, 2024, SaveOnSP will update its responses to Interrogatory
  Nos. 17, 19, and 20 to address this issue.

                 SaveOnSP’s responses to Interrogatory Nos. 17 and 19 are also incomplete for
  additional reasons. SaveOnSP supplemented its responses to indicate that,

                                           . See Defendant’s Feb. 1, 2024 Supplemental Responses
  & Objections to Plaintiff’s Interrogatories at 9, 12. First, as described above, SaveOnSP must
  disclose
                                                                              . Second, SaveOnSP,
  also failed to describe (1) whether any of

                                        s. Moreover, discovery has revealed that

                                                              For example, SaveOnSP’s production
  indicates that
                                                                                              . See
  SOSP_0942343. SaveOnSP’s supplemental responses do not reference

                   To the extent SaveOnSP employees engaged in similar tactics—such as

                                                                            must also be disclosed,
  consistent with SaveOnSP’s representations that it would do so. See Oct. 19, 2023 Email from E.
  Snow to S. Arrow.


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                 By February 16, 2024, please confirm that you have conducted a reasonable
  investigation into

  Please also confirm that you will further supplement SaveOnSP’s responses to Interrogatory Nos.
  17, 19, and 20, as appropriate, to address these issues by February 22, 2024.

                                          *      *       *

                Please provide a response by February 16, 2024. JJHCS’s review of SaveOnSP’s
  responses and objections to JJHCS’s interrogatories is continuing, and JJHCS reserves all rights.

                                                         Very truly yours,


                                                         /s/Caroline Zielinski
                                                         Caroline Zielinski




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  Attorneys for Defendant Save On SP, LLC


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON
   HEALTH CARE SYSTEMS INC.,
                                             Civ. A. No. 22-2632 (JMV) (CLW)
                       Plaintiff,
                                             DEFENDANT’S RESPONSES AND
                 v.                          OBJECTIONS TO PLAINTIFF’S
                                             FIRST SET OF INTERROGATORIES
   SAVE ON SP, LLC,

                       Defendant.



  To:   Jeffrey J. Greenbaum, Esq.
        SILLS CUMMIS & GROSS, P.C.
        One Riverfront Plaza
        Newark, New Jersey 07102
        973-643-7000
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         PATTERSON BELKNAP WEBB
         & TYLER LLP
         1133 Avenue of the Americas
         New York, New York

         Attorneys for Plaintiff Johnson & Johnson
         Health Care Systems Inc.

         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1, De-

  fendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, responds and

  objects to Plaintiff Johnson & Johnson Health Care Systems Inc.’s (“JJHCS”) First Set of Inter-

  rogatories, dated November 23, 2022 (the “Interrogatories”). These responses should be deemed

  to supplement and amend SaveOnSP’s disclosures under Rule 26(a) of the Federal Rules of Civil

  Procedure. If SaveOnSP learns that in some material respect its responses are incomplete or incor-

  rect, SaveOnSP will supplement or correct them if the additional or corrective information has not

  otherwise been made known to JJHCS during the discovery process or in writing. Fed. R. Civ. P.

  26(e)(1)(A). SaveOnSP’s responds to these Interrogatories are based on information available to

  it at the time it made them. SaveOnSP reserves the right to modify or supplement its responses.

                                    GENERAL OBJECTIONS

         1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

  OnSP objects to each Interrogatory to the extent that it seeks a disclosure of information which is

  subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

  or any other applicable privileges, immunities, or doctrines.

         2.      JJHCS does not limit any of its Interrogatories to information withing SaveOnSP’s

  possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks




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  disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

  OnSP can locate after a reasonable inquiry.

                                 OBJECTIONS TO DEFINITIONS

             3.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

  countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

  prets the term “SaveOnSP” to mean SaveOnSP, and any and all predecessors and successors in

  interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, representa-

  tives, directors, officers, employees, committees, and all persons or entities acting or purporting to

  act on behalf or under the control of SaveOnSP.

             4.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

  plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

  inition.

             5.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

  objects to the definition of “SaveOnSP.”

                                OBJECTIONS TO INSTRUCTIONS

             6.   SaveOnSP objects to Instruction No. 23 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

             7.   SaveOnSP objects to Instruction No. 24 to the extent it purports to require Save-

  OnSP to answer Plaintiff’s Interrogatories based on knowledge obtained from all available sources.

  SaveOnSP will answer Plaintiff’s Interrogatories based on information in its possession, custody,

  and control available to it following a reasonable inquiry.




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         8.      SaveOnSP objects to Instruction No. 25 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         9.      SaveOnSP uses the term “Janssen Drugs” as defined in SaveOnSP’s First Request

  for Production of Documents to JJHCS, dated November 11, 2022.

         Dated: December 23, 2022                      By: /s/ E. Evans Wohlforth, Jr.
                                                          E. Evans Wohlforth, Jr.
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                                                           Attorneys for Defendant Save On SP,
                                                           LLC




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             RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

  INTERROGATORY NO. 1:

          Set forth the identities and role of the “[e]xperts in the healthcare and pharmaceutical in-
  dustries [who] founded SaveOnSP,” as referenced on Your website. 1

  RESPONSE:




           SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF. No. 62.




  1
      About SaveOnSP, SAVEONSP, https://saveonsp.com/about/ (last visited Nov. 23, 2022).
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  INTERROGATORY NO. 2:

         Describe, in as much detail as possible, Your involvement in the creation and use of the
  presentation found at https://vimeo.com/513414094 (hereinafter, SaveOnSP IPBC Video) as dis-
  cussed in the Complaint (see, e.g., Compl. ¶¶ 9–11, 53–56).

  RESPONSE:




         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 3:

          Describe how each Janssen medication included in the SaveOnSP Program was chosen for
  inclusion, including any and all criteria used to inform that decision.



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  RESPONSE:




         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.
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  INTERROGATORY NO. 4:

           Describe, in as much detail as possible, the process by which SaveOnSP determines the
  size of the “inflated co-pay,” 2 or increase to Plan Members’ Co- payment or Co-insurance, includ-
  ing any and all criteria used to inform how that Co-payment or Co-insurance is determined.

  RESPONSE:




  2
      See SaveOnSP IPBC Video at 19:07.
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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 5:

         For each Janssen medication for which SaveOnSP has advised a Payor regarding the de-
  termination of the Co-payment or Co-insurance for that medication, identify the applicable Co-
  payment or Co-insurance for the medication both before and after SaveOnSP advised the Payor.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 6:

         Set forth a calculation by year of any and all “savings” 3 SaveOnSP has generated by
  advising Payors to increase the Co-payment or Co-insurance for Janssen medications, includ-
  ing breakdowns showing the entities that received the savings and the amounts received by Save-
  OnSP for generating those savings.

  RESPONSE:

         SaveOnSP objects to the term “Janssen medication” as vague and ambiguous. SaveOnSP

  interprets the term “Janssen medications” to mean Janssen Drugs.

         SaveOnSP objects to the term “savings” as undefined and vague and ambiguous. Save-

  OnSP interprets “savings” to mean health plans’ reduced expenditures on Janssen drugs resulting

  from their receipt of SaveOnSP’s services.




  3
   See SaveOnSP IPBC Video at 49:26 (explaining that “in order for us to leverage the savings, the
  member has to actively enroll in copay assistance. That’s where the savings comes from.”)
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         SaveOnSP objects to the term “entities that received the savings” as undefined and vague

  and ambiguous. SaveOnSP interprets “entities that received the savings” to mean the health plans

  with which it contracts.

         SaveOnSP objects to the term “amounts received by SaveOnSP for generating those sav-

  ings” as undefined and vague and ambiguous. SaveOnSP interprets that term to mean the fees that

  SaveOnSP receives from health plans for its services.

         SaveOnSP objects to producing the identities of health plans that have contracted with

  SaveOnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to

  outweigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

  and health plans. SaveOnSP will not produce such information.

         SaveOnSP will produce data sufficient to show health plans’ reduced expenditures on

  Janssen drugs resulting from their receipt of SaveOnSP’s services and the fees that SaveOnSP

  receives from health plans for its services relating to Janssen Drugs. Fed. R. Civ. P. 33(d). Save-

  OnSP will anonymize references to the identities of health plans that have contracted with Save-

  OnSP in such documents.


  INTERROGATORY NO. 7:

         Identify the name and address of each Payor SaveOnSP has advised regarding the Co-
  payment or Co-insurance of any Janssen medication, including the earliest date on which that ad-
  vice was provided.

  RESPONSE:

         SaveOnSP objects to the term “has advised” as vague and ambiguous. SaveOnSP interprets

  this Interrogatory to seek information regarding Payors that have contracted with SaveOnSP.

         SaveOnSP objects to the term “any Janssen medication” as vague and ambiguous. Save-

  OnSP interprets the term “any Janssen medication” to mean Janssen Drugs.


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         SaveOnSP objects to producing the identities of Payors that have contracted with Save-

  OnSP because such information is not sufficiently relevant and necessary to JJHCS’s case to out-

  weigh the harm that disclosure of that information could cause to SaveOnSP, plan participants,

  and health plans.

         SaveOnSP objects to this Request as not proportional to the needs of the case to the extent

  that it seeks the identities of every health plan advised by SaveOnSP. The burden and expense of

  producing all such information outweighs the marginal relevance of the material requested.

         SaveOnSP will not respond to this Interrogatory.


  INTERROGATORY NO. 8:

        Describe, in as much detail as possible, the processes and methods by which the SaveOnSP
  Program employs a “[p]oint of sale claim rejection” to “facilitate warm transfer of member to
  SaveOnSP.” 4

  RESPONSE:




  4
   See Human Resources Committee Meeting, VILLAGE OF LINDENHURST ILLINOIS, at 69
  (Mar. 11, 2021), https://www.lindenhurstil.org/egov/documents/1615238827_33717.pdf.
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           SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 9:

         Describe, in as much detail as possible, the processes and methods by which the SaveOnSP
  Program employs a “tertiary biller” to pay a Plan Member’s $5 or $10 out-of-pocket responsibility,
  which is “really SaveOn behind the scenes.” 5

  RESPONSE:




  5
      See SaveOnSP IPBC Video at 20:53.
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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 10:

         For each Plan Member who declined to participate in the SaveOnSP Program in connection
  with their purchase of Janssen medication, identify how much each one paid for each prescription
  of Janssen medication that he or she filled after he or she declined to participate in the SaveOnSP
  Program.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 11:

         In cases where (i) a Plan Member uses the entire annual allotment of CarePath funds for a
  given Janssen medication after enrolling in the SaveOnSP Program and (ii) the Plan Member sub-
  sequently switches to insurance coverage under a new Payor that does not participate in the Save-
  OnSP Program before the year ends, describe to what extent SaveOnSP ensures that the Plan Mem-
  ber continues to pay $0 for their Janssen medication through the end of the year.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 12:

         Describe, in as much detail as possible, how
          as referenced on page 7 of the Memorandum of Law in Support of Defendant’s Motion
  to Dismiss filed in this Action at ECF. No. 31-1, including the
          .

  RESPONSE:

         SaveOnSP responds as follows:




         SaveOnSP designates its response to this Interrogatory as Confidential under the Discovery

  Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.



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                            CERTIFICATION OF SAVE ON SP, LLC

          I, Jody Miller, am the President of Save On SP, LLC ("SaveOnSP"). I am authorized to
 submit this certification on behalf of SaveOnSP. I certify that the foregoing answers made by me
 to these Interrogatories are true. I am aware that if any of the foregoing answers are willfully false,
 SaveOnSP and I are subject to punishment. I certify that in responding to the foregoing
 Interrogatories, I have furnished all information available to SaveOnSP, its agents, employees and
 attorneys. As to those answers which are not within my personal knowledge, I certify that I have
 provided the name and address of every person from whom such information was received or,
 where the source of such information is documentary, a full description of the document including
 its location.

                                                Save On SP, LLC



                                                By� fotAf;:/�
                                                    President

 Date: December 23, 2022
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                                EXHIBIT 14

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  Attorneys for Defendant Save On SP, LLC


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON
   HEALTH CARE SYSTEMS INC.,
                                                Civ. A. No. 22-2632 (JKS) (CLW)
                         Plaintiff,
                                                DEFENDANT’S SUPPLEMENTAL
                 v.                             RESPONSES AND OBJECTIONS TO
                                                PLAINTIFF’S INTERROGATORIES
   SAVE ON SP, LLC,

                         Defendant.



  To:    Jeffrey J. Greenbaum, Esq.
         SILLS CUMMIS & GROSS, P.C.
         One Riverfront Plaza
         Newark, New Jersey 07102
         973-643-7000
Case
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         George LoBiondo, Esq.
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         1133 Avenue of the Americas
         New York, New York

         Attorneys for Plaintiff Johnson & Johnson
         Health Care Systems Inc.

         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1, De-

  fendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, hereby supple-

  ments its Responses and Objections to Plaintiff Johnson & Johnson Health Care Systems Inc.’s

  (“JJHCS”) Interrogatory Nos. 4 and 16, contained in SaveOnSP’s previously-served Responses

  and Objections. These responses should be deemed to supplement and amend SaveOnSP’s disclo-

  sures under Rule 26(a) of the Federal Rules of Civil Procedure. If SaveOnSP learns that in some

  material respect its responses are incomplete or incorrect, SaveOnSP will supplement or correct

  them if the additional or corrective information has not otherwise been made known to JJHCS

  during the discovery process or in writing. Fed. R. Civ. P. 26(e)(1)(A). SaveOnSP’s responses to

  these Interrogatories are based on information available to it at the time it made them. SaveOnSP

  reserves the right to modify or supplement its responses.

                                    GENERAL OBJECTIONS

         1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

  OnSP objects to each Interrogatory to the extent that it seeks a disclosure of information which is

  subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

  or any other applicable privileges, immunities, or doctrines.

         2.      JJHCS does not limit any of its Interrogatories to information withing SaveOnSP’s

  possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks
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  disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

  OnSP can locate after a reasonable inquiry.

                                 OBJECTIONS TO DEFINITIONS

             3.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

  countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

  prets the term “SaveOnSP” to mean SaveOnSP, LLC, and any and all predecessors and successors

  in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

  atives, directors, officers, employees, committees, and all persons or entities acting or purporting

  to act on behalf or under the control of SaveOnSP, LLC.

             4.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

  plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

  inition.

             5.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

  objects to the definition of “SaveOnSP.”

             6.   SaveOnSP objects to the term “or other substance” in the definition of “Pharma-

  ceutical Manufacturer” as vague and ambiguous. SaveOnSP will interpret the term “Pharmaceuti-

  cal Manufacturer” to mean any entity that develops, produces, manufactures, creates, licenses, or

  distributes any pharmaceutical, drug, or medicine used in the treatment, cure, prevention or diag-

  nosis of any illness, disease, disorder, or other condition.

                                OBJECTIONS TO INSTRUCTIONS

             1.   SaveOnSP objects to Instruction No. 23 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.



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         2.      SaveOnSP objects to Instruction No. 24 in Plaintiff’s First Set of Interrogatories to

  the extent it purports to require SaveOnSP to answer Plaintiff’s Interrogatories based on

  knowledge obtained from all available sources. SaveOnSP will answer Plaintiff’s Interrogatories

  based on information in its possession, custody, and control available to it following a reasonable

  inquiry.

         3.      SaveOnSP objects to Instruction No. 25 in Plaintiff’s First Set of Interrogatories to

  the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         4.      SaveOnSP uses the term “Janssen Drugs” as defined in SaveOnSP’s First Request

  for Production of Documents to JJHCS.

         5.      SaveOnSP objects to Instruction No. 16 in Plaintiff’s Third Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         6.      SaveOnSP objects to Instruction No. 17 in Plaintiff’s Third Set of Interrogatories

  to the extent it purports to require SaveOnSP to answer Plaintiff’s Interrogatories based on

  knowledge obtained from all available sources. SaveOnSP will answer Plaintiff’s Interrogatories

  based on information in its possession, custody, and control available to it following a reasonable

  inquiry.

         7.      SaveOnSP objects to Instruction No. 18 in Plaintiff’s Third Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         8.      SaveOnSP objects to Instruction No. 19 in Plaintiff’s Third Set of Interrogatories

  because it attempts to require SaveOnSP to provide information that is irrelevant to the claims and



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  defenses in this action. SaveOnSP will provide information on its interactions with JJHCS and on

  its general business practices applicable to multiple Pharmaceutical Manufacturers that include

  such practices applicable to JJHCS.




         Dated: February 23, 2024                    By: /s/ E. Evans Wohlforth, Jr.
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                                                     adunlap@selendygay.com
                                                     mnelson@selendygay.com
                                                     esnow@selendygay.com

                                                     Attorneys for Defendant Save On SP, LLC




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         SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES



  INTERROGATORY NO. 4:

           Describe, in as much detail as possible, the process by which SaveOnSP determines the
  size of the “inflated co-pay,” or increase to Plan Members’ Copayment or Co-insurance, including
  any and all criteria used to inform how that Co-payment or Co-insurance is determined.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




  INTERROGATORY NO. 16:

          Describe, in as much detail as possible, all measures that You have utilized to prevent any
  Pharmaceutical Manufacturer or manufacturers from being able to identify patients that are en-
  rolled in the SaveOnSP Program, or to make it more difficult for them to do so.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




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     212.390.9000


     Elizabeth H. Snow
     Associate
     212.390.9330
     esnow@selendygay.com




     February 23, 2024



     Via E-mail

     Caroline Zielinski
     Patterson Belknap Webb & Tyler LLP
     1133 Avenue of the Americas
     New York, NY 10036
     czielinski@pbwt.com

     Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
              LLC (Case No. 2:22-cv-02632-JKS-CLW)

     Dear Caroline,

            We write in response to your February 9, 2024 letter regarding alleged de-
     ficiencies in SaveOn’s supplemental responses to J&J’s interrogatories.

             First, J&J asserts that SaveOn did not supplement its responses “without
     limitation” because it did not provide updated responses for Interrogatories where
     its responses have not changed. SaveOn does not believe that Judge Waldor’s order
     requires it to restate answers that have not changed.

            Second, J&J asks that SaveOn “immediately conduct a reasonable investi-
     gation to ensure that no additional supplementation is required as to the sixteen
     unchanged responses.” SaveOn did so.

              Third, J&J asserts that
                                                                       than those de-
     scribed in its response to Interrogatory No. 4, specifically
           While we disagree that any supplementation is necessary, to avoid a dispute,
     SaveOn provides a supplemented response to Interrogatory No. 4.

            Fourth, citing various documents, J&J asserts that
                                                             and asks that SaveOn in-
     vestigate its response to Interrogatory 15. SaveOn has investigated and reaffirms
     its previous response to Interrogatory No. 15.
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            Fifth, citing two documents, J&J asserts that SaveOn’s statement in its re-
     sponse to Interrogatory No. 16 regarding
                                                         is inaccurate. After investigat-
     ing, we disagree. J&J also asserts that SaveOn’s response to Interrogatory No. 16

                   SaveOn provides a supplemented response to Interrogatory No. 16 to
     clarify a separate issue.

            Sixth, J&J asserts that SaveOn’s responses to Interrogatories No. 17 and 19
                                                                         . We disagree.
     J&J also asserts that SaveOn failed to supplement its responses to Interrogatories
     No. 17, 19, 20 on the question of whether
                                          In fact, SaveOn investigated and determined
     that no supplementation was necessary on this point. J&J further asserts that
     SaveOn failed to supplement those responses because J&J asserts that
                                                                          . SaveOn does
     not believe that any supplementation on this point is required. SaveOn reaffirms
     its previous responses to Interrogatory Nos. 17, 19, and 20.

             SaveOn reserves all rights.

     Best,

     /s/ Elizabeth H. Snow

     Elizabeth H. Snow
     Associate




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  dbudetti@selendygay.com

  Attorneys for Defendant Save On SP, LLC


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON
   HEALTH CARE SYSTEMS INC.,
                                             Civ. A. No. 22-2632 (JMV) (CLW)
                        Plaintiff,
                                             DEFENDANT’S SUPPLEMENTAL
                 v.                          RESPONSES AND OBJECTIONS TO
                                             PLAINTIFF’S SECOND SET OF
   SAVE ON SP, LLC,                          INTERROGATORIES

                        Defendant.



  To:    Jeffrey J. Greenbaum, Esq.
         SILLS CUMMIS & GROSS, P.C.
         One Riverfront Plaza
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         Newark, New Jersey 07102
         973-643-7000

         Adeel A. Mangi, Esq.
         Harry Sandick, Esq.
         George LoBiondo, Esq.
         PATTERSON BELKNAP WEBB
         & TYLER LLP
         1133 Avenue of the Americas
         New York, New York

         Attorneys for Plaintiff Johnson & Johnson
         Health Care Systems Inc.

         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1, De-

  fendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, hereby supple-

  ments its Responses and Objections to Plaintiff Johnson & Johnson Health Care Systems Inc.’s

  (“JJHCS”) Interrogatory Nos. 14 and 15, contained in SaveOnSP’s Responses and Objections to

  JJHCS’s Second Set of Interrogatories, dated March 9, 2023. These responses should be deemed

  to supplement and amend SaveOnSP’s disclosures under Rule 26(a) of the Federal Rules of Civil

  Procedure. If SaveOnSP learns that in some material respect its responses are incomplete or incor-

  rect, SaveOnSP will supplement or correct them if the additional or corrective information has not

  otherwise been made known to JJHCS during the discovery process or in writing. Fed. R. Civ. P.

  26(e)(1)(A). SaveOnSP’s responses to these Interrogatories are based on information available to

  it at the time it made them. SaveOnSP reserves the right to modify or supplement its responses.

                                    GENERAL OBJECTIONS

         1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

  OnSP objects to each Interrogatory to the extent that it seeks disclosure of information which is

  subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

  or any other applicable privileges, immunities, or doctrines.



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             2.   JJHCS does not limit any of its Interrogatories to information within SaveOnSP’s

  possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks

  disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

  OnSP can locate after a reasonable inquiry.

             3.   JJHCS’s Instruction 27 does not define the Time Period with specificity. SaveOnSP

  objects to each Interrogatory to the extent that it seeks disclosure of information “through the pre-

  sent.” SaveOnSP responds with information from January 1, 2017 through the date of these Re-

  sponses.

                                 OBJECTIONS TO DEFINITIONS

             4.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

  countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

  prets the term “SaveOnSP” to mean Save On SP, LLC, and any and all predecessors and successors

  in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

  atives, directors, officers, employees, committees, and all persons or entities acting or purporting

  to act on behalf or under the control of Save On SP, LLC.

             5.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

  plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

  inition.

             6.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

  objects to the definition of “SaveOnSP.”




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                               OBJECTIONS TO INSTRUCTIONS

         7.      SaveOnSP objects to Instruction No. 24 in Plaintiff’s Second Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         8.      SaveOnSP objects to Instruction No. 25 to the extent it purports to require Save-

  OnSP to answer Plaintiff’s Interrogatories based on knowledge obtained from all available sources.

  SaveOnSP will answer Plaintiff’s Interrogatories based on information in its possession, custody,

  and control available to it following a reasonable inquiry.

         9.      SaveOnSP objects to Instruction No. 26 to the extent that JJHCS attempts to impose

  requirements on SaveOnSP beyond those required by the Federal Rules of Civil Procedure, agreed

  to by the parties, or ordered by the Court.

         10.     SaveOnSP uses the term “Janssen Drugs” as defined in SaveOnSP’s First Request

  for Production of Documents to JJHCS, dated November 11, 2022.



         Dated: May 5, 2023                            By: /s/ E. Evans Wohlforth, Jr.
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                                                          ROBINSON & COLE LLP
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                                                          New York, NY 10017-4132
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                                                          Fax (212) 451-2999
                                                          ewohlforth@rc.com

                                                           David Elsberg
                                                           Andrew R. Dunlap
                                                           Meredith Nelson
                                                           Elizabeth Snow
                                                           Dominic Budetti
                                                           SELENDY GAY ELSBERG, PLLC
                                                           1290 Avenue of the Americas




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                                                dbudetti@selendygay.com

                                                Attorneys for Defendant Save On SP,
                                                LLC




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           SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORY
                              NOS. 14 AND 15

  INTERROGATORY NO. 14:

           Identify any Entity or individual who has entered into any agreement, or otherwise has any
  obligation, to advance legal fees incurred by SaveOnSP in this action or to indemnify SaveOnSP
  in this action for its legal fees, for any damages, or otherwise.

  RESPONSE:




         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 15:

          Describe whether and under what circumstances You have advised any Payors to eliminate
  or alter coverage for certain pharmaceuticals and to arrange for Plan Members to obtain those
  pharmaceuticals from any source other than Accredo, including (without limitation) independent
  nonprofit organizations, such as the Johnson & Johnson Patient Assistance Foundation, Inc.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




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                                 EXHIBIT 18

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Long, Julia (x2878)

From:                                        Elizabeth Snow <esnow@selendygay.com>
Sent:                                        Thursday, October 19, 2023 7:22 PM
To:                                          Arrow, Sara (x2031); Vinita Davey; Mangi, Adeel A. (x2563); Sandick, Harry (x2723);
                                             Shane, Beth (x2659); LoBiondo, George (x2008); Long, Julia (x2878);
                                             ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com; Brisson, Katherine (x2552)
Cc:                                          Andrew Dunlap; Meredith Nelson; Wohlforth, E. Evans; Emma Ashe O'Toole
Subject:                                     RE: JJHCS v. SaveOnSP // Request for Meet and Confer



 Caution: External Email!



Sara,

After speaking with our client, SaveOnSP is willing to provide the supplemental responses as requested regarding any


This agreement does not constitute a waiver of SaveOnSP’s relevance objection. SaveOnSP maintains that documents
and information                                            is wholly irrelevant to this action. We are agreeing to this to
eliminate burdening the Court with a dispute.

SaveOnSP will provide its supplemental responses, including as to                                                              , as
promptly as it is able.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9330 [O]
+1 540.409.7257 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 18, 2023 1:34 PM
To: Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth,

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We have not heard anything further from SaveOnSP regarding its responses to JJHCS’s Third Set of Interrogatories,
despite stating that you would provide SaveOnSP’s position early this week. Accordingly, we attach JJHCS’s portion of a
joint motion, which we intend to file with the Court no later than October 27, 2023. We request SaveOnSP’s response
no later than the close of business on October 24, 2023. In addition, as you know, you have agreed to supplement your
Responses to JJHCS’s Third Set of Interrogatories and despite multiple requests, we still have not received that required
supplementation. Please provide it no later than the close of business tomorrow, October 19, 2023. We reserve all
rights.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
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From: Elizabeth Snow <esnow@selendygay.com>
Sent: Friday, October 13, 2023 6:09 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878)
<jlong@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com
<klieb@sillscummis.com>; Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Sara,

We are still speaking with our client regarding the interrogatory responses referenced below. We anticipate being in a
position to respond with SaveOnSP’s position early next week.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9330 [O]
+1 540.409.7257 [M]
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From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 11, 2023 4:43 PM
To: Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth—

Thank you for participating in our meet and confer session earlier today. As we discussed, we request that, by the close
of business on Friday, October 13, 2023, you provide SaveOnSP’s position as to whether it will provide information
                                                               in response to JJHCS’s Interrogatories Nos. 16-20. In the
event we do not hear from you by the close of business on October 13 or do not find any counterproposal satisfactory,
we will conclude that the parties are at impasse as to this issue.

Additionally, we requested that you supplement your responses to JJHCS’s Interrogatories Nos. 19 and 20 by September
29. See Sept. 22, 2023 Ltr. from S. Arrow to M. Nelson. You have agreed to provide the required supplementation. See
Oct. 6, 2023 Ltr. from M. Nelson to S. Arrow. Please do so by October 13, 2023.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Arrow, Sara (x2031)
Sent: Friday, October 6, 2023 5:26 PM
To: 'Vinita Davey' <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel—


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We would like to meet and confer concerning the letters you sent on October 3, 2023, including the letter from Andrew
Dunlap concerning JJHCS’s RFP No. 83, the letter from Elizabeth Snow concerning JJHCS’s RFPs 89 and 90, the letter from
Meredith Nelson concerning JJHCS’s Eighth Set of RFPs, and all previous correspondence concerning the same topics.
We would also like to address your October 6, 2023 letter regarding SaveOnSP’s Responses and Objections to JJHCS’s
Third Set of Interrogatories and previous correspondence regarding the same.

Please let us know your availability to confer from 11-6 on either Monday, October 9 or Tuesday, October 10. Please
reserve an hour and half for our meet and confer session.

Have a nice weekend.

Thanks,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Vinita Davey <vdavey@selendygay.com>
Sent: Friday, October 6, 2023 5:02 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs


  Caution: External Email!



Counsel,

Please see the attached correspondence in the above-captioned matter.

Best,
Vinita

Vinita Davey*
Law Clerk [vdavey@selendygay.com]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she/her
----------------------------------------------

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+1 212.390.9354 [O]
+1 201.323.3634 [M]

*Not admitted to the Bar.



From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Friday, September 22, 2023 2:57:00 PM
To: Meredith Nelson <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
<EWohlforth@rc.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,

Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Third Set of Interrogatories.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Arrow, Sara (x2031)
Sent: Thursday, September 21, 2023 5:25 PM
To: 'Meredith Nelson' <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,

Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Eighth Set of Requests for Production.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
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                                               28577
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Meredith Nelson <mnelson@selendygay.com>
Sent: Monday, September 18, 2023 7:51 PM
To: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659)
<eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs


 Caution: External Email!



Counsel,

Attached please find SaveOnSP’s R&Os to JJHCS’s 8th Set of Requests for Productions and 3rd Set of Interrogatories.

Regards,

Meredith

Meredith Nelson
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9069 [O]
+1 918.200.3148 [M]




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Long, Julia (x2878)

From:                                        Matthew Nussbaum <mnussbaum@selendygay.com>
Sent:                                        Wednesday, January 17, 2024 9:48 AM
To:                                          LoBiondo, George (x2008); Arrow, Sara (x2031); Mangi, Adeel A. (x2563)
Cc:                                          Wohlforth, E. Evans; Andrew Dunlap; Meredith Nelson; Elizabeth Snow; Vinita Davey; _cg
                                             J&J-SaveOn; ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com; Emma Ashe
                                             O'Toole; Sarah Chase
Subject:                                     RE: JJHCS v. SaveOnSP // Request for Meet and Confer



 Caution: External Email!



George,

We have answered a version of this question several times, but will do so again.



                SaveOn is investigating
                                                                           We will supplement our responses to Interrogatories
17, 19, and 20 to reflect the results of that investigation.

Otherwise, SaveOn has already investigated t

                                    to Interrogatories 17, 19, and 20.

SaveOn thus is doing or has already done what J&J has asked. To be clear,                    continue to be
irrelevant to J&J’s claims, but we have agreed to this additional investigation and supplementation in hopes of
avoiding a dispute.

We are available to meet and confer.

Best,

Matt


Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Friday, January 12, 2024 2:16 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.

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                                             25399
                                                 28582
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matt,

Thanks for your response, but it does not answer my question. To be clear, SaveOnSP must provide full and clear
answers to JJHCS’s interrogatories 17, 19, and 20. Yet, as best we can tell, you appear to be attempting to limit
SaveOnSP’s investigation to                                                                                   That is
unduly narrow in two respects.

First, “whether SaveOn authorized” a tactic is not the only relevant information. As we have already explained twice,
SaveOnSP must investigate                                                        , including but not limited to whether and
how they were authorized.

Second, it is not appropriate for SaveOnSP to artificially limit its investigation to

                                    But unlike Ms. Zulqarnain, SaveOnSP must furnish all “information available to
SaveOnSP, its agents, employees and attorneys,” as Mr. Miller’s own certification acknowledges. And the interrogatories
themselves clearly ask for, e.g., “all instances where and all circumstances under which”
                                                                                                       ”

We must insist on a clear record of what SaveOnSP is refusing to do, so that we can determine whether it is necessary to
seek relief. We would therefore appreciate a direct, non-evasive, yes or no response to the following: As part of its
obligation to accurately and comprehensively answer our interrogatories 17, 19, and 20, will SaveOnSP investigate



Because it has been many weeks since we first raised this issue, and because the conference with Judge Wolfson is fast
approaching, we request your response by the close of business on Tuesday, January 16.

Thanks again,
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Tuesday, January 9, 2024 5:18 PM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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George,


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I can confirm that SaveOn will (1) investigate whether
                                                                                                                        (2)
supplement its responses to J&J’s Interrogatories 17, 19 and 20 to reflect the results of that investigation; and (3)
supplement its responses to those interrogatories                                                       .

Once again, SaveOn does not believe that the Rules require it to do this, but will do so in order to avoid a dispute.

Best,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Tuesday, January 9, 2024 10:56 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matt,

When will you respond to my note below?

Thanks,
George

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Tuesday, January 2, 2024 8:36 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matt,

Thanks for your email, and confirming that SaveOnSP will take the steps you have outlined. However, as noted in my
email below, and as we further discussed on December 19, SaveOnSP’s investigation and
                                                              Rather, SaveOnSP must investigate


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                                            25401
                                                28584
       (See highlighting below.) Please promptly confirm that SaveOnSP will do so.

Thanks again,
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, December 29, 2023 12:39 PM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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George,
Following up on your questions from the parties’ December 19 meet-and-confer, SaveOn will (1) investigate whether

                                         ; (2) supplement its responses to J&J’s Interrogatories 17, 19 and 20 to reflect the
results of that investigation; and (3) supplement its responses to those interrogatories
                        SaveOn does not believe that the Rules require it to do this, but agrees to do so in order to avoid a
dispute.
Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Monday, December 18, 2023 2:32 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Thanks Matt. We will circulate an invite for 11:15.

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In addition to the interrogatory responses issue, please also be prepared to discuss the matters referenced in
SaveOnSP’s December 15 letter on text messages (attached here for your reference).

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Thursday, December 14, 2023 6:46 PM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



George,

Thank you. As requested, we are available to meet and confer on Tuesday, December 19 at any time before 1:30 p.m.

Please let us know if you are available.

Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Thursday, December 14, 2023 10:58 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matthew: please respond without further delay to my message below. Thanks.

From: LoBiondo, George (x2008)
Sent: Wednesday, December 6, 2023 11:56 AM
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To: 'Matthew Nussbaum' <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matthew,

Thanks for your note. We are surprised by your assertion that SaveOnSP need not update its interrogatory responses,
and we disagree with it. In particular, Ms. Zulqarnain’s deposition testimony, standing alone, is not enough to serve as
SaveOnSP’s corrective disclosure. To satisfy the “otherwise made known” standard you reference, the additional
information must be “clearly and unambiguously” provided, “in such a form and of such specificity as the functional
equivalent of a supplemental discovery response.” E.g., In re Blackrock Mutual Funds Advisory Fee Litig., 2018 WL
11242142, at *4 (D.N.J. June 13, 2018). Here,

                                                  . By way of example,
                                                                          (see Tr. at 115:15–25).

                                                        So SaveOnSP cannot point to this testimony to satisfy Rule
26. See, e.g., Eli Lilly & Co. v. Actavis Elizabeth LLC, 2010 WL 1849913, at *9 (D.N.J. May 7, 2010) (“Sporadic mentions
in depositions are not a substitute for certified responses to discovery and do not satisfy [a party’s] discovery
obligations.”); In re Pfizer Inc., 2006 WL 2938723, at *3 (D.N.J. Oct. 13, 2006) (“[B]y failing to supplement its response to
Teva’s interrogatory, Pfizer’s response became materially incomplete or incorrect, and Pfizer was thus in violation of Rule
26(e)(2).”).




                                                                                                                   See Younes
v. 7-Eleven, Inc., 312 F.R.D. 692, 705–07 (D.N.J. 2015) (“A party answering interrogatories is under a duty to produce all
information available to the party” and a party “is charged with knowledge of what its agents know and what is in the
documents available to it.”). Because of this, and because
                                 , we think it obvious that SaveOnSP should supplement them so that they are both correct
and complete. See, e.g., Prominent GmbH v. Prominent Sys., Inc., 2019 WL 3972819, at *2 (W.D. Pa. Aug. 22, 2019)
(deposition testimony contrary to past interrogatory responses should be addressed with “a revision to the Interrogatory
Responses”); Gripper v. City of Springfield, Ill., 2006 WL 988481, at *3 (C.D. Ill. Apr. 13, 2006) (declining to sanction a
party that “acted promptly after” a deposition “to amend its answer to [a past] interrogatory” when the deponent’s
testimony revealed the past interrogatory answer to be false). Please confirm by December 12 that SaveOnSP will do so,
or provide your availability to meet and confer.

Thanks again,
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Wednesday, November 29, 2023 9:49 AM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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 Caution: External Email!



George,

The Federal Rules of Civil Procedure require a party to supplement or correct a response “if the additional or corrective
information has not otherwise been made known to the other parties during the discovery process.” FRCP 26(e)(1)(A).
One way in which information can be “otherwise . . . made known” to a party is through deposition testimony. See, e.g.,
Pa. State Lodge Fraternal Ord. of Police v. Twp. of Springfield, 2023 WL 7547494, at *7 (E.D. Pa. Nov. 13, 2023)
(disclosures did not need to be revised when the information at issue was used during depositions); Liggins-McCoy v.
Democratic Caucus of Senate of Pa., 2022 WL 1446987, at *10 (same); Eli Lilly and Co. v. Actavis Elizabeth LLC, 2010 WL
1849913, at *3 (D.N.J. May 7, 2010) (“A majority of courts, the leading treatises, and the Advisory Committee Note to
Rule 26 agree that an individual’s existence or knowledge can ‘otherwise be made known,’ and thus be sufficiently
disclosed for Rule 26 purposes, through deposition testimony.”); In re Jacoby Airplane Crash, 2007 WL 559801, at *8
(D.N.J. Feb. 14, 2007) (collecting cases).

The Rules thus do not require SaveOnSP to update its interrogatory responses
           If you are aware of any authority to the contrary, please let us know.

Thank you,

Matt


Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Wednesday, November 22, 2023 12:09 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

Please let us know when SaveOnSP will supplement its responses to JJHCS’s interrogatories


Thanks very much.
George




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From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Thursday, November 9, 2023 10:30 AM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,
Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s interrogatory 19, including a signed
certification.
Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Monday, November 6, 2023 11:35 AM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Good morning, Counsel,

Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s interrogatories 16, 17, and 18,
including a signed certification. Please also find the signed certification for the supplemental responses to 19 and 20,
which were served on Friday.

Thank you,
Matt



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Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Friday, November 3, 2023 4:08 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel—

Thank you for providing these supplemental Responses & Objections to JJHCS’s Interrogatories Nos. 19 and 20. As you
know, you agreed to supplement your Responses to JJHCS’s entire third set of Interrogatories, inclusive of
Interrogatories Nos. 16-20, to address                                                              . See Oct. 19, 2023
and Oct. 25, 2023 Emails between E. Snow and S. Arrow. You appear not to have done so with respect to Interrogatories
16-18. Please provide the entirety of the required supplementation no later than 2 p.m. on Monday, November 6,
2023. In addition, please provide the required signed certification by 2 p.m. on Monday, November 6. JJHCS reserves all
rights.

Thank you for confirming that Ms. Zulqarnain will be made available for a deposition on Tuesday, November 7 at your
offices beginning at 9:30 a.m. The following individuals will be attending on behalf of JJHCS: Katherine Brisson, Sheryn
George, Jeffrey Greenbaum, and George LoBiondo. We will follow-up with the names of the videographer and
stenographer as soon as they are available.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, November 3, 2023 3:03 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
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<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,

Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s Third Set of Interrogatories. A
signed certification will follow early next week.

Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Matthew Nussbaum
Sent: Wednesday, November 1, 2023 3:35 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

We are working to complete our investigation and prepare the requested responses as promptly as possible. We will
endeavor to provide them to you by Friday.

We can also confirm that Ms. Zulqarnain will be made available for a deposition on Tuesday, Nov. 7 at our offices
beginning at 9:30 a.m. Please advise, at your earliest convenience, who will be attending so that we can ensure access to
our building.

Thank you,
Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
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                                               28591
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Tuesday, October 31, 2023 9:28 AM
To: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Matthew Nussbaum <mnussbaum@selendygay.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

We have not received a response to our email below from Friday, October 27. We reiterate that we expect that you will
provide your supplemental responses to JJHCS’s Third Set of Interrogatories by the close of business on Friday,
November 3, 2023. We first requested that you supplement these Responses on September 22, 2023. It is unacceptable
for SaveOnSP to take over a month and a half to provide the required supplementation, and it is necessary that we
receive your responses before the first deposition.

Please also promptly confirm the location for Ms. Zulqarnain’s deposition.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Sent: Friday, October 27, 2023 5:10 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel -- We require this response at least two days before the scheduled first deposition in this case of Ms.
Zulqarnain. Please confirm you will update the response by that date, failing which we will have to raise this issue with
the Court on Monday. Thank you.
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From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, October 27, 2023 5:07 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659)
<eshane@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,

We anticipate providing supplemental responses to JJHCS’s interrogatories by Friday, Nov. 10.

Thank you,

Matt


Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 25, 2023 2:08 PM
To: Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth:

Thank you for confirming that SaveOnSP will provide supplemental responses to JJHCS’s Interrogatories Nos. 16-20 to
address                                                          As you know, SaveOnSP also agreed on October 6,
2023 to supplement its Responses to Interrogatories Nos. 19 and 20 to address instances in which
                                            We have not received that required supplementation. Please provide the
date by which SaveOnSP will fully supplement its Responses to JJHCS’s Third Set of Interrogatories. If you do not provide
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this date by Friday, October 27, 2023 we will be forced to alert the Court to SaveOnSP’s delay and to seek appropriate
intervention.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Elizabeth Snow <esnow@selendygay.com>
Sent: Thursday, October 19, 2023 7:22 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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Sara,

After speaking with our client, SaveOnSP is willing to provide the supplemental responses as requested regarding


This agreement does not constitute a waiver of SaveOnSP’s relevance objection. SaveOnSP maintains that documents
and information                                            is wholly irrelevant to this action. We are agreeing to this to
eliminate burdening the Court with a dispute.

SaveOnSP will provide its supplemental responses,                                                                     , as
promptly as it is able.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------



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+1 212.390.9330 [O]
+1 540.409.7257 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 18, 2023 1:34 PM
To: Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth,

We have not heard anything further from SaveOnSP regarding its responses to JJHCS’s Third Set of Interrogatories,
despite stating that you would provide SaveOnSP’s position early this week. Accordingly, we attach JJHCS’s portion of a
joint motion, which we intend to file with the Court no later than October 27, 2023. We request SaveOnSP’s response
no later than the close of business on October 24, 2023. In addition, as you know, you have agreed to supplement your
Responses to JJHCS’s Third Set of Interrogatories and despite multiple requests, we still have not received that required
supplementation. Please provide it no later than the close of business tomorrow, October 19, 2023. We reserve all
rights.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
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sarrow@pbwt.com l www.pbwt.com


From: Elizabeth Snow <esnow@selendygay.com>
Sent: Friday, October 13, 2023 6:09 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878)
<jlong@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com
<klieb@sillscummis.com>; Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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Sara,

We are still speaking with our client regarding the interrogatory responses referenced below. We anticipate being in a
position to respond with SaveOnSP’s position early next week.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9330 [O]
+1 540.409.7257 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 11, 2023 4:43 PM
To: Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth—

Thank you for participating in our meet and confer session earlier today. As we discussed, we request that, by the close
of business on Friday, October 13, 2023, you provide SaveOnSP’s position as to whether it will provide information
concerning Pharmaceutical Manufacturers other than JJHCS in response to JJHCS’s Interrogatories Nos. 16-20. In the
event we do not hear from you by the close of business on October 13 or do not find any counterproposal satisfactory,
we will conclude that the parties are at impasse as to this issue.

Additionally, we requested that you supplement your responses to JJHCS’s Interrogatories Nos. 19 and 20 by September
29. See Sept. 22, 2023 Ltr. from S. Arrow to M. Nelson. You have agreed to provide the required supplementation. See
Oct. 6, 2023 Ltr. from M. Nelson to S. Arrow. Please do so by October 13, 2023.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
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Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com

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From: Arrow, Sara (x2031)
Sent: Friday, October 6, 2023 5:26 PM
To: 'Vinita Davey' <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel—

We would like to meet and confer concerning the letters you sent on October 3, 2023, including the letter from Andrew
Dunlap concerning JJHCS’s RFP No. 83, the letter from Elizabeth Snow concerning JJHCS’s RFPs 89 and 90, the letter from
Meredith Nelson concerning JJHCS’s Eighth Set of RFPs, and all previous correspondence concerning the same topics.
We would also like to address your October 6, 2023 letter regarding SaveOnSP’s Responses and Objections to JJHCS’s
Third Set of Interrogatories and previous correspondence regarding the same.

Please let us know your availability to confer from 11-6 on either Monday, October 9 or Tuesday, October 10. Please
reserve an hour and half for our meet and confer session.

Have a nice weekend.

Thanks,
Sara


Sara A. Arrow
She | Her | Hers
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New York, NY 10036
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Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Vinita Davey <vdavey@selendygay.com>
Sent: Friday, October 6, 2023 5:02 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs



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                                                  28597
 Caution: External Email!



Counsel,

Please see the attached correspondence in the above-captioned matter.

Best,
Vinita

Vinita Davey*
Law Clerk [vdavey@selendygay.com]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she/her
----------------------------------------------
+1 212.390.9354 [O]
+1 201.323.3634 [M]

*Not admitted to the Bar.



From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Friday, September 22, 2023 2:57:00 PM
To: Meredith Nelson <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
<EWohlforth@rc.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,

Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Third Set of Interrogatories.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
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Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Arrow, Sara (x2031)
Sent: Thursday, September 21, 2023 5:25 PM
To: 'Meredith Nelson' <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
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                                               28598
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,

Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Eighth Set of Requests for Production.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
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1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Meredith Nelson <mnelson@selendygay.com>
Sent: Monday, September 18, 2023 7:51 PM
To: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659)
<eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs


 Caution: External Email!



Counsel,

Attached please find SaveOnSP’s R&Os to JJHCS’s 8th Set of Requests for Productions and 3rd Set of Interrogatories.

Regards,

Meredith

Meredith Nelson
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9069 [O]
+1 918.200.3148 [M]




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                                             25421
                                                 28604

Long, Julia (x2878)

From:                                        Matthew Nussbaum <mnussbaum@selendygay.com>
Sent:                                        Tuesday, January 9, 2024 5:18 PM
To:                                          LoBiondo, George (x2008); Arrow, Sara (x2031); Mangi, Adeel A. (x2563)
Cc:                                          Wohlforth, E. Evans; Andrew Dunlap; Meredith Nelson; Elizabeth Snow; Vinita Davey; _cg
                                             J&J-SaveOn; ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com; Emma Ashe
                                             O'Toole; Sarah Chase
Subject:                                     RE: JJHCS v. SaveOnSP // Request for Meet and Confer



 Caution: External Email!



George,
I can confirm that SaveOn will (1) investigate whether
                                                                                                                           (2)
supplement its responses to J&J’s Interrogatories 17, 19 and 20 to reflect the results of that investigation; and (3)
supplement its responses to those interrogatories

Once again, SaveOn does not believe that the Rules require it to do this, but will do so in order to avoid a dispute.

Best,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Tuesday, January 9, 2024 10:56 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matt,

When will you respond to my note below?

Thanks,
George

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From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Tuesday, January 2, 2024 8:36 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matt,

Thanks for your email, and confirming that SaveOnSP will take the steps you have outlined. However, as noted in my
email below, and as we further discussed on December 19, SaveOnSP’s investigation and
                                                              Rather, SaveOnSP must investigate


        (See highlighting below.) Please promptly confirm that SaveOnSP will do so.

Thanks again,
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, December 29, 2023 12:39 PM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



George,
Following up on your questions from the parties’ December 19 meet-and-confer, SaveOn will (1) investigate whether

                                         ; (2) supplement its responses to J&J’s Interrogatories 17, 19 and 20 to reflect the
results of that investigation; and (3) supplement its responses to those interrogatories
                        SaveOn does not believe that the Rules require it to do this, but agrees to do so in order to avoid a
dispute.
Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
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                                                28606
Pronouns: he, him, his
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+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Monday, December 18, 2023 2:32 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Thanks Matt. We will circulate an invite for 11:15.

In addition to the interrogatory responses issue, please also be prepared to discuss the matters referenced in
SaveOnSP’s December 15 letter on text messages (attached here for your reference).

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Thursday, December 14, 2023 6:46 PM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



George,

Thank you. As requested, we are available to meet and confer on Tuesday, December 19 at any time before 1:30 p.m.

Please let us know if you are available.

Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
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+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Thursday, December 14, 2023 10:58 AM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matthew: please respond without further delay to my message below. Thanks.

From: LoBiondo, George (x2008)
Sent: Wednesday, December 6, 2023 11:56 AM
To: 'Matthew Nussbaum' <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Matthew,

Thanks for your note. We are surprised by your assertion that SaveOnSP need not update its interrogatory responses,
and we disagree with it. In particular, Ms. Zulqarnain’s deposition testimony, standing alone, is not enough to serve as
SaveOnSP’s corrective disclosure. To satisfy the “otherwise made known” standard you reference, the additional
information must be “clearly and unambiguously” provided, “in such a form and of such specificity as the functional
equivalent of a supplemental discovery response.” E.g., In re Blackrock Mutual Funds Advisory Fee Litig., 2018 WL
11242142, at *4 (D.N.J. June 13, 2018). Here,

                                                    By way of example,
                                                                          (see Tr. at 115:15–25).

                                                        So SaveOnSP cannot point to this testimony to satisfy Rule
26. See, e.g., Eli Lilly & Co. v. Actavis Elizabeth LLC, 2010 WL 1849913, at *9 (D.N.J. May 7, 2010) (“Sporadic mentions
in depositions are not a substitute for certified responses to discovery and do not satisfy [a party’s] discovery
obligations.”); In re Pfizer Inc., 2006 WL 2938723, at *3 (D.N.J. Oct. 13, 2006) (“[B]y failing to supplement its response to
Teva’s interrogatory, Pfizer’s response became materially incomplete or incorrect, and Pfizer was thus in violation of Rule
26(e)(2).”).




                                                                                                              See Younes
v. 7-Eleven, Inc., 312 F.R.D. 692, 705–07 (D.N.J. 2015) (“A party answering interrogatories is under a duty to produce all
information available to the party” and a party “is charged with knowledge of what its agents know and what is in the
documents available to it.”). Because of this, and because
                                 we think it obvious that SaveOnSP should supplement them so that they are both correct
and complete. See, e.g., Prominent GmbH v. Prominent Sys., Inc., 2019 WL 3972819, at *2 (W.D. Pa. Aug. 22, 2019)
(deposition testimony contrary to past interrogatory responses should be addressed with “a revision to the Interrogatory

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Responses”); Gripper v. City of Springfield, Ill., 2006 WL 988481, at *3 (C.D. Ill. Apr. 13, 2006) (declining to sanction a
party that “acted promptly after” a deposition “to amend its answer to [a past] interrogatory” when the deponent’s
testimony revealed the past interrogatory answer to be false). Please confirm by December 12 that SaveOnSP will do so,
or provide your availability to meet and confer.

Thanks again,
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Wednesday, November 29, 2023 9:49 AM
To: LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



George,

The Federal Rules of Civil Procedure require a party to supplement or correct a response “if the additional or corrective
information has not otherwise been made known to the other parties during the discovery process.” FRCP 26(e)(1)(A).
One way in which information can be “otherwise . . . made known” to a party is through deposition testimony. See, e.g.,
Pa. State Lodge Fraternal Ord. of Police v. Twp. of Springfield, 2023 WL 7547494, at *7 (E.D. Pa. Nov. 13, 2023)
(disclosures did not need to be revised when the information at issue was used during depositions); Liggins-McCoy v.
Democratic Caucus of Senate of Pa., 2022 WL 1446987, at *10 (same); Eli Lilly and Co. v. Actavis Elizabeth LLC, 2010 WL
1849913, at *3 (D.N.J. May 7, 2010) (“A majority of courts, the leading treatises, and the Advisory Committee Note to
Rule 26 agree that an individual’s existence or knowledge can ‘otherwise be made known,’ and thus be sufficiently
disclosed for Rule 26 purposes, through deposition testimony.”); In re Jacoby Airplane Crash, 2007 WL 559801, at *8
(D.N.J. Feb. 14, 2007) (collecting cases).

The Rules thus do not require SaveOnSP to update its interrogatory responses
          . If you are aware of any authority to the contrary, please let us know.

Thank you,

Matt


Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]


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From: LoBiondo, George (x2008) <globiondo@pbwt.com>
Sent: Wednesday, November 22, 2023 12:09 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A.
(x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; _cg
J&J-SaveOn <JJSaveOn@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>;
~klieb@sillscummis.com <klieb@sillscummis.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase
<schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

Please let us know when SaveOnSP will supplement its responses to JJHCS’s interrogatories


Thanks very much.
George

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Thursday, November 9, 2023 10:30 AM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,
Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s interrogatory 19, including a signed
certification.
Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Monday, November 6, 2023 11:35 AM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
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Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Good morning, Counsel,

Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s interrogatories 16, 17, and 18,
including a signed certification. Please also find the signed certification for the supplemental responses to 19 and 20,
which were served on Friday.

Thank you,
Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
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+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Friday, November 3, 2023 4:08 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel—

Thank you for providing these supplemental Responses & Objections to JJHCS’s Interrogatories Nos. 19 and 20. As you
know, you agreed to supplement your Responses to JJHCS’s entire third set of Interrogatories, inclusive of
Interrogatories Nos. 16-20, to address                                                                See Oct. 19, 2023
and Oct. 25, 2023 Emails between E. Snow and S. Arrow. You appear not to have done so with respect to Interrogatories
16-18. Please provide the entirety of the required supplementation no later than 2 p.m. on Monday, November 6,
2023. In addition, please provide the required signed certification by 2 p.m. on Monday, November 6. JJHCS reserves all
rights.

Thank you for confirming that Ms. Zulqarnain will be made available for a deposition on Tuesday, November 7 at your
offices beginning at 9:30 a.m. The following individuals will be attending on behalf of JJHCS: Katherine Brisson, Sheryn
George, Jeffrey Greenbaum, and George LoBiondo. We will follow-up with the names of the videographer and
stenographer as soon as they are available.

Regards,
Sara
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Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, November 3, 2023 3:03 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>; Sarah Chase <schase@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,

Attached, please find SaveOnSP’s supplemental responses and objections to JJHCS’s Third Set of Interrogatories. A
signed certification will follow early next week.

Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Matthew Nussbaum
Sent: Wednesday, November 1, 2023 3:35 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)

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<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

We are working to complete our investigation and prepare the requested responses as promptly as possible. We will
endeavor to provide them to you by Friday.

We can also confirm that Ms. Zulqarnain will be made available for a deposition on Tuesday, Nov. 7 at our offices
beginning at 9:30 a.m. Please advise, at your earliest convenience, who will be attending so that we can ensure access to
our building.

Thank you,
Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Tuesday, October 31, 2023 9:28 AM
To: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Matthew Nussbaum <mnussbaum@selendygay.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel,

We have not received a response to our email below from Friday, October 27. We reiterate that we expect that you will
provide your supplemental responses to JJHCS’s Third Set of Interrogatories by the close of business on Friday,
November 3, 2023. We first requested that you supplement these Responses on September 22, 2023. It is unacceptable
for SaveOnSP to take over a month and a half to provide the required supplementation, and it is necessary that we
receive your responses before the first deposition.

Please also promptly confirm the location for Ms. Zulqarnain’s deposition.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
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                                            25430
                                                28613
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>
Sent: Friday, October 27, 2023 5:10 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>; ~jgreenbaum@sillscummis.com
<jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>; Brisson, Katherine (x2552)
<kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel -- We require this response at least two days before the scheduled first deposition in this case of Ms.
Zulqarnain. Please confirm you will update the response by that date, failing which we will have to raise this issue with
the Court on Monday. Thank you.

From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, October 27, 2023 5:07 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>
Cc: Wohlforth, E. Evans <EWohlforth@rc.com>; Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>;
Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659)
<eshane@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Counsel,

We anticipate providing supplemental responses to JJHCS’s interrogatories by Friday, Nov. 10.

Thank you,

Matt


Matthew Nussbaum
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]


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From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 25, 2023 2:08 PM
To: Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth:

Thank you for confirming that SaveOnSP will provide supplemental responses to JJHCS’s Interrogatories Nos. 16-20 to
address                                                             As you know, SaveOnSP also agreed on October 6,
2023 to supplement its Responses to Interrogatories Nos. 19 and 20 to address instances in which
                                              We have not received that required supplementation. Please provide the
date by which SaveOnSP will fully supplement its Responses to JJHCS’s Third Set of Interrogatories. If you do not provide
this date by Friday, October 27, 2023 we will be forced to alert the Court to SaveOnSP’s delay and to seek appropriate
intervention.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Elizabeth Snow <esnow@selendygay.com>
Sent: Thursday, October 19, 2023 7:22 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


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Sara,



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After speaking with our client, SaveOnSP is willing to provide the supplemental responses as requested regarding any


This agreement does not constitute a waiver of SaveOnSP’s relevance objection. SaveOnSP maintains that documents
and                                                          wholly irrelevant to this action. We are agreeing to this to
eliminate burdening the Court with a dispute.

SaveOnSP will provide its supplemental responses,                                                                      as
promptly as it is able.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9330 [O]
+1 540.409.7257 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 18, 2023 1:34 PM
To: Elizabeth Snow <esnow@selendygay.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth,

We have not heard anything further from SaveOnSP regarding its responses to JJHCS’s Third Set of Interrogatories,
despite stating that you would provide SaveOnSP’s position early this week. Accordingly, we attach JJHCS’s portion of a
joint motion, which we intend to file with the Court no later than October 27, 2023. We request SaveOnSP’s response
no later than the close of business on October 24, 2023. In addition, as you know, you have agreed to supplement your
Responses to JJHCS’s Third Set of Interrogatories and despite multiple requests, we still have not received that required
supplementation. Please provide it no later than the close of business tomorrow, October 19, 2023. We reserve all
rights.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092

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                                         PageID:
                                             25433
                                                 28616
sarrow@pbwt.com l www.pbwt.com


From: Elizabeth Snow <esnow@selendygay.com>
Sent: Friday, October 13, 2023 6:09 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563)
<aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>;
Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878)
<jlong@pbwt.com>; ~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com
<klieb@sillscummis.com>; Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Wohlforth, E. Evans
<EWohlforth@rc.com>; Emma Ashe O'Toole <eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer


 Caution: External Email!



Sara,

We are still speaking with our client regarding the interrogatory responses referenced below. We anticipate being in a
position to respond with SaveOnSP’s position early next week.

Best,

Elizabeth

Elizabeth Snow
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9330 [O]
+1 540.409.7257 [M]

From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Wednesday, October 11, 2023 4:43 PM
To: Vinita Davey <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Elizabeth—

Thank you for participating in our meet and confer session earlier today. As we discussed, we request that, by the close
of business on Friday, October 13, 2023, you provide SaveOnSP’s position as to whether it will provide information
concerning Pharmaceutical Manufacturers other than JJHCS in response to JJHCS’s Interrogatories Nos. 16-20. In the
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event we do not hear from you by the close of business on October 13 or do not find any counterproposal satisfactory,
we will conclude that the parties are at impasse as to this issue.

Additionally, we requested that you supplement your responses to JJHCS’s Interrogatories Nos. 19 and 20 by September
29. See Sept. 22, 2023 Ltr. from S. Arrow to M. Nelson. You have agreed to provide the required supplementation. See
Oct. 6, 2023 Ltr. from M. Nelson to S. Arrow. Please do so by October 13, 2023.

Regards,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
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sarrow@pbwt.com l www.pbwt.com


From: Arrow, Sara (x2031)
Sent: Friday, October 6, 2023 5:26 PM
To: 'Vinita Davey' <vdavey@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // Request for Meet and Confer

Counsel—

We would like to meet and confer concerning the letters you sent on October 3, 2023, including the letter from Andrew
Dunlap concerning JJHCS’s RFP No. 83, the letter from Elizabeth Snow concerning JJHCS’s RFPs 89 and 90, the letter from
Meredith Nelson concerning JJHCS’s Eighth Set of RFPs, and all previous correspondence concerning the same topics.
We would also like to address your October 6, 2023 letter regarding SaveOnSP’s Responses and Objections to JJHCS’s
Third Set of Interrogatories and previous correspondence regarding the same.

Please let us know your availability to confer from 11-6 on either Monday, October 9 or Tuesday, October 10. Please
reserve an hour and half for our meet and confer session.

Have a nice weekend.

Thanks,
Sara


Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas

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                                                  28618
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Vinita Davey <vdavey@selendygay.com>
Sent: Friday, October 6, 2023 5:02 PM
To: Arrow, Sara (x2031) <sarrow@pbwt.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>;
LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; Meredith Nelson
<mnelson@selendygay.com>; Wohlforth, E. Evans <EWohlforth@rc.com>; Emma Ashe O'Toole
<eashe@selendygay.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs


  Caution: External Email!



Counsel,

Please see the attached correspondence in the above-captioned matter.

Best,
Vinita

Vinita Davey*
Law Clerk [vdavey@selendygay.com]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she/her
----------------------------------------------
+1 212.390.9354 [O]
+1 201.323.3634 [M]

*Not admitted to the Bar.



From: Arrow, Sara (x2031) <sarrow@pbwt.com>
Sent: Friday, September 22, 2023 2:57:00 PM
To: Meredith Nelson <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
<EWohlforth@rc.com>
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,


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                                      PageID:
                                          25436
                                              28619
Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Third Set of Interrogatories.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Arrow, Sara (x2031)
Sent: Thursday, September 21, 2023 5:25 PM
To: 'Meredith Nelson' <mnelson@selendygay.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry
(x2723) <hsandick@pbwt.com>; Shane, Beth (x2659) <eshane@pbwt.com>; Deskus, Cassie (x2003)
<cdeskus@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: RE: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs

Meredith,

Please see the attached letter concerning SaveOnSP’s R&Os to JJHCS’s Eighth Set of Requests for Production.

Regards,
Sara

Sara A. Arrow
She | Her | Hers
Patterson Belknap Webb & Tyler LLP
1133 Avenue of the Americas
New York, NY 10036
Phone: (212) 336-2031
Fax: (212) 336-2092
sarrow@pbwt.com l www.pbwt.com


From: Meredith Nelson <mnelson@selendygay.com>
Sent: Monday, September 18, 2023 7:51 PM
To: Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723) <hsandick@pbwt.com>; Shane, Beth (x2659)
<eshane@pbwt.com>; Deskus, Cassie (x2003) <cdeskus@pbwt.com>; LoBiondo, George (x2008)
<globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>; Long, Julia (x2878) <jlong@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>
Cc: Andrew Dunlap <adunlap@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>; ewohlforth@rc.com
Subject: JJHCS v. SaveOnSP // SaveOnSP's R&Os to JJHCS 8th Set of RFPs and 3rd Set of Rogs


 Caution: External Email!


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Counsel,

Attached please find SaveOnSP’s R&Os to JJHCS’s 8th Set of Requests for Productions and 3rd Set of Interrogatories.

Regards,

Meredith

Meredith Nelson
Associate [Email]
Selendy Gay Elsberg PLLC [Web]
Pronouns: she, her, hers
----------------------------------------------
+1 212.390.9069 [O]
+1 918.200.3148 [M]




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                                 EXHIBIT 24

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  ROBINSON & COLE LLP
  666 Third Avenue, 20th Floor
  New York, NY 10017-4132
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  Fax (212) 451-2999
  ewohlforth@rc.com

  David Elsberg (admitted pro hac vice)
  Andrew R. Dunlap (admitted pro hac vice)
  Meredith Nelson (admitted pro hac vice)
  Elizabeth Snow (admitted pro hac vice)
  SELENDY GAY ELSBERG, PLLC
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  New York, NY 10104
  212-390-9000
  deslberg@selendygay.com
  adunlap@selendygay.com
  mnelson@selendygay.com
  esnow@selendygay.com

  Attorneys for Defendant Save On SP, LLC


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   JOHNSON & JOHNSON
   HEALTH CARE SYSTEMS INC.,
                                             Civ. A. No. 22-2632 (JMV) (CLW)
                        Plaintiff,
                                             DEFENDANT’S SUPPLEMENTAL
                 v.                          RESPONSES AND OBJECTIONS TO
                                             PLAINTIFF’S THIRD SET OF
   SAVE ON SP, LLC,                          INTERROGATORIES

                        Defendant.



  To:    Jeffrey J. Greenbaum, Esq.
         SILLS CUMMIS & GROSS, P.C.
         One Riverfront Plaza
         Newark, New Jersey 07102
         973-643-7000
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         Adeel A. Mangi, Esq.
         Harry Sandick, Esq.
         George LoBiondo, Esq.
         PATTERSON BELKNAP WEBB
         & TYLER LLP
         1133 Avenue of the Americas
         New York, New York

         Attorneys for Plaintiff Johnson & Johnson
         Health Care Systems Inc.

         Pursuant to Federal Rules of Civil Procedure 26 and 33, and Local Civil Rule 33.1, De-

  fendant Save On SP, LLC (“SaveOnSP”), by and through its undersigned counsel, hereby supple-

  ments its Responses and Objections to Plaintiff Johnson & Johnson Health Care Systems Inc.’s

  (“JJHCS”) Interrogatory Nos. 19 and 20, contained in SaveOnSP’s Responses and Objections to

  JJHCS’s Third Set of Interrogatories, dated September 18, 2023. These responses should be

  deemed to supplement and amend SaveOnSP’s disclosures under Rule 26(a) of the Federal Rules

  of Civil Procedure. If SaveOnSP learns that in some material respect its responses are incomplete

  or incorrect, SaveOnSP will supplement or correct them if the additional or corrective information

  has not otherwise been made known to JJHCS during the discovery process or in writing. Fed. R.

  Civ. P. 26(e)(1)(A). SaveOnSP’s responses to these Interrogatories are based on information avail-

  able to it at the time it made them. SaveOnSP reserves the right to modify or supplement its re-

  sponses.

                                    GENERAL OBJECTIONS

         1.      JJHCS does not limit any of its Interrogatories to nonprivileged material. Save-

  OnSP objects to each Interrogatory to the extent that it seeks disclosure of information which is

  subject to the attorney-client privilege, the work product doctrine, the common-interest privilege,

  or any other applicable privileges, immunities, or doctrines.




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             2.   JJHCS does not limit any of its Interrogatories to information within SaveOnSP’s

  possession, custody, or control. SaveOnSP objects to each Interrogatory to the extent that it seeks

  disclosure of information that is not within SaveOnSP’s possession, custody, or control that Save-

  OnSP can locate after a reasonable inquiry.

                                 OBJECTIONS TO DEFINITIONS

             3.   SaveOnSP objects to the term “or other substance” in the definition of “Pharma-

  ceutical Manufacturer” as vague and ambiguous. SaveOnSP will interpret the term “Pharmaceuti-

  cal Manufacturer” to mean any entity that develops, produces, manufactures, creates, licenses, or

  distributes any pharmaceutical, drug, or medicine used in the treatment, cure, prevention or diag-

  nosis of any illness, disease, disorder, or other condition.

             4.   SaveOnSP objects to the definition of “SaveOnSP” as including attorneys and ac-

  countants who may be outside of SaveOnSP’s possession, custody, and control. SaveOnSP inter-

  prets the term “SaveOnSP” to mean Save On SP, LLC, and any and all predecessors and successors

  in interest, assignees, parents, subsidiaries, affiliates, divisions or departments, agents, represent-

  atives, directors, officers, employees, committees, and all persons or entities acting or purporting

  to act on behalf or under the control of Save On SP, LLC.

             5.   SaveOnSP objects to the definition of “SaveOnSP Program,” as described in Com-

  plaint ¶¶ 9-17, because it mischaracterizes SaveOnSP’s services. SaveOnSP will not use this def-

  inition.

             6.   SaveOnSP objects to the definition of “You” and “Your” to the same extent that it

  objects to the definition of “SaveOnSP.”




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                               OBJECTIONS TO INSTRUCTIONS

         7.      SaveOnSP objects to Instruction No. 16 in Plaintiff’s Third Set of Interrogatories

  to the extent that JJHCS attempts to impose requirements on SaveOnSP beyond those required by

  the Federal Rules of Civil Procedure, agreed to by the parties, or ordered by the Court.

         8.      SaveOnSP objects to Instruction No. 17 to the extent it purports to require Save-

  OnSP to answer Plaintiff’s Interrogatories based on knowledge obtained from all available sources.

  SaveOnSP will answer Plaintiff’s Interrogatories based on information in its possession, custody,

  and control available to it following a reasonable inquiry.

         9.      SaveOnSP objects to Instruction No. 18 to the extent that JJHCS attempts to impose

  requirements on SaveOnSP beyond those required by the Federal Rules of Civil Procedure, agreed

  to by the parties, or ordered by the Court.

         10.     SaveOnSP objects to Instruction No. 19 because it attempts to require SaveOnSP

  to provide information that is irrelevant to the claims and defenses in this action. SaveOnSP will

  provide information on its interactions with JJHCS and on its general business practices applicable

  to multiple Pharmaceutical Manufacturers that include such practices applicable to JJHCS.



         Dated: November 3, 2023                       By: /s/ E. Evans Wohlforth, Jr.
                                                          E. Evans Wohlforth, Jr.
                                                          ROBINSON & COLE LLP
                                                          666 Third Avenue, 20th Floor
                                                          New York, NY 10017-4132
                                                          Main (212) 451-2900
                                                          Fax (212) 451-2999
                                                          ewohlforth@rc.com

                                                           David Elsberg
                                                           Andrew R. Dunlap
                                                           Meredith Nelson
                                                           Elizabeth Snow



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                                                SELENDY GAY ELSBERG, PLLC
                                                1290 Avenue of the Americas
                                                New York, NY 10104
                                                212-390-9000
                                                deslberg@selendygay.com
                                                adunlap@selendygay.com
                                                mnelson@selendygay.com
                                                esnow@selendygay.com

                                                Attorneys for Defendant Save On SP,
                                                LLC




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          SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORY
                             NOS. 19 AND 20

  INTERROGATORY NO. 19:

           Describe, in as much detail as possible, all instances where and all circumstances under
  which You have lied to, misled, or deceived Pharmaceutical Manufacturers, including all instances
  in which Your representatives or employees have misrepresented their identities or concealed their
  affiliation with SaveOnSP when communicating with Pharmaceutical Manufacturers.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.


  INTERROGATORY NO. 20:

        Describe, in as much detail as possible, each instance where and all circumstances under
  which You have instructed Your representatives or employees to lie to, mislead, or deceive Phar-
  maceutical Manufacturers including with regard to their affiliation with SaveOnSP.

  RESPONSE:




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         SaveOnSP designates its response to this Interrogatory as Attorneys’ Eyes Only under the

  Discovery Confidentiality Order, so-ordered November 22, 2022, ECF No. 62.




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Zielinski, Caroline (x2206)

From:                                        Matthew Nussbaum <mnussbaum@selendygay.com>
Sent:                                        Thursday, February 1, 2024 1:33 PM
To:                                          Mangi, Adeel A. (x2563); Sandick, Harry (x2723); LoBiondo, George (x2008); Arrow, Sara
                                             (x2031); Long, Julia (x2878); Brisson, Katherine (x2552); Eppler, Ian (x2205);
                                             ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com; _cg J&J-SaveOn
Cc:                                          Andrew Dunlap; Elizabeth Snow; Meredith Nelson; Wohlforth, E. Evans
Subject:                                     JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-ES-CLW)
Attachments:                                 2024.02.01 Letter from E. Snow to G. LoBiondo.pdf; 2024.02.01 SaveOn's Supplemental
                                             R&Os.pdf



 Caution: External Email!



Counsel,

A ached, please ﬁnd SaveOn’s supplemental responses and objec ons to J&J’s interrogatories and an accompanying
le er. A signed cer ﬁca on will follow later this week.

Thank you,

Ma

Matthew Nussbaum
Associate [Email]
Selendy Gay PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]




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Zielinski, Caroline (x2206)

From:                              Zielinski, Caroline (x2206)
Sent:                              Tuesday, February 20, 2024 5:44 PM
To:                                'Matthew Nussbaum'; Andrew Dunlap; Taylor Stone; Meredith Nelson; Elizabeth Snow;
                                   Wohlforth, E. Evans; Mangi, Adeel A. (x2563); Sandick, Harry (x2723); LoBiondo, George
                                   (x2008); Arrow, Sara (x2031); Brisson, Katherine (x2552); Eppler, Ian (x2205);
                                   ~jgreenbaum@sillscummis.com; ~klieb@sillscummis.com
Cc:                                _cg J&J-SaveOn
Subject:                           RE: JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-JKS-CLW)//Interrogatory Responses


Matt,

Tomorrow, it will be three weeks since the deadline for SaveOnSP to serve its supplemental interrogatory
responses. Despite your assurance that SaveOnSP would provide a verification for its supplemental responses by
February 2, 2024, SaveOnSP has still failed to do so. This is unacceptable. At the very least, please provide a verification
immediately. There is simply no excuse for not having provided a verification, which should have come with the
responses. Moreover, please provide a comprehensive response addressing the issues identified in our February 9, 2024
letter, as well as any supplemental responses to JJHCS’s interrogatories, by close of business Thursday. If for some
reason that is not possible, we are available to meet and confer Thursday afternoon.

Best,
Caroline

    Caroline Zielinski
    Litigation Associate

    Patterson Belknap Webb & Tyler LLP
    1133 Avenue of the Americas
    New York, NY 10036

    T 212.336.2206
    F 212.336.1220

    czielinski@pbwt.com




From: Matthew Nussbaum <mnussbaum@selendygay.com>
Sent: Friday, February 16, 2024 5:09 PM
To: Zielinski, Caroline (x2206) <czielinski@pbwt.com>; Andrew Dunlap <adunlap@selendygay.com>; Taylor Stone
<tstone@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>;
Wohlforth, E. Evans <EWohlforth@rc.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>; Eppler, Ian (x2205) <ieppler@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>
Cc: _cg J&J-SaveOn <JJSaveOn@pbwt.com>
Subject: RE: JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-JKS-CLW)


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Counsel,

SaveOn is in receipt of your February 9, 2024 letter regarding its supplemental interrogatory responses and intends
to respond next week.

Thank you,

Matt

Matthew Nussbaum
Associate [Email]
Selendy Gay PLLC [Web]
Pronouns: he, him, his
----------------------------------------------
+1 212.390.9062 [O]
+1 856.534.8606 [M]

From: Zielinski, Caroline (x2206) <czielinski@pbwt.com>
Sent: Friday, February 9, 2024 5:36 PM
To: Matthew Nussbaum <mnussbaum@selendygay.com>; Andrew Dunlap <adunlap@selendygay.com>; Taylor Stone
<tstone@selendygay.com>; Meredith Nelson <mnelson@selendygay.com>; Elizabeth Snow <esnow@selendygay.com>;
Wohlforth, E. Evans <EWohlforth@rc.com>; Mangi, Adeel A. (x2563) <aamangi@pbwt.com>; Sandick, Harry (x2723)
<hsandick@pbwt.com>; LoBiondo, George (x2008) <globiondo@pbwt.com>; Arrow, Sara (x2031) <sarrow@pbwt.com>;
Brisson, Katherine (x2552) <kbrisson@pbwt.com>; Eppler, Ian (x2205) <ieppler@pbwt.com>;
~jgreenbaum@sillscummis.com <jgreenbaum@sillscummis.com>; ~klieb@sillscummis.com <klieb@sillscummis.com>
Cc: _cg J&J-SaveOn <JJSaveOn@pbwt.com>
Subject: JJHCS v. SaveOnSP (Case No. 2:22-cv-02632-JKS-CLW)

Counsel,

Please see the attached correspondence.

Best,
Caroline

     Caroline Zielinski
     Litigation Associate

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     February 1, 2024



     Via E-mail

     George LoBiondo
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     Re:      Johnson & Johnson Health Care Systems Inc. v. Save On SP,
              LLC (Case No. 2:22-cv-02632-JMV-CLW)

     Dear George,

             SaveOn today serves its supplemented responses and objections (“R&Os”)
     to J&J’s Interrogatories. SaveOn provides supplemented R&Os for Interrogatories
     2, 10, 17, and 19; for the remaining Interrogatories, SaveOn’s substantive responses
     have not changed.

     Best,

     /s/ Elizabeth H. Snow

     Elizabeth H. Snow
     Associate
